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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                               Plaintiff,

                   -against



THE CITY OF NEW YORK, ROSE                         :   15-CV-5871
                                                   :
PIERRE- LOUIS, in her individual and
                                                   :
official capacity, SELVENA BROOKS, in              :
                                                   :
her individual and official capacity,                  FIFTH AMENDED
                                                   :
INSPECTOR OLUFUNMILO F. OBE, in                    :   COMPLAINT
                                                   :
her individual and official capacity,
                                                   :
DETECTIVE LINDA SIMMONS, in her                    :
                                                   :   Jury Trial Demanded
individual and official capacity, OFFICER
                                                   :
JOHN STAINES, in his individual and                :
                                                   :
official capacity, OFFICER ISELAINE
                                                   :
GUICHARDO HERMENE GILDO CRUZ,                      :
                                                   :
in her individual and official capacity, LT.
                                                   :
NICHOLAS CORRADO, in his individual                :
                                                   :
and official capacity; LIEUTENANT
                                                   :
RAYMOND DEJESUS, in his individual                 :
                                                   :
and official capacity; OFFICER EMMET, in
                                                   :
his individual and official capacity;              :
                                                   :
SERGEANT SHEVTIZ, in his individual
                                                   :
and official capacity; MTA OFFICER                 :
                                                   :
STEPHEN MEARS, in his individual and
                                                   :
official capacity; MTA OFFICER ALISON              :
                                                   :
SCHMITT, in her individual and official
                                                   :
capacity                                           :
                                                   x
                                   Defendants
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                                     TYPE OF CASE

1.      Plaintiff brings claims under 42 U.S.C. s. 1983 for violation of her constitutional
        rights by Defendants.

                                        PARTIES

                                          Plaintiff

2.      The Plaintiff, Ms. Kelly Price, is a resident of New York, and a citizen of the
        United States of America.

                                        Defendants

                                     City of New York

3.      Defendant City of New York (“the City”) was and is a municipal corporation duly
        organized and existing under the laws of the State of New York.

4.      The City maintains the New York Police Department (“NYPD”). The NYPD
        provides police services for the City.

5.      The City maintains the Mayor’s Office to Combat Domestic Violence. The office
        provides advocate services and programs for survivors of Domestic Violence.

                               City of New York Employees

6.      Selvena Brooks (“Ms. Brooks”) was at all relevant times an employee of the City.
        On the date of the incident, in or around December 2014, she worked for the
        Mayor’s Office to Combat Domestic Violence. Ms. Brooks is sued in her
        individual and official capacity.

7.      Rose Pierre-Louis (“Ms. Pierre-Louis”) was at all relevant times an employee of
        the City. On the dates of the incidents, in or around October 2014, she worked as
        the Commissioner of the Mayor’s Office to Combat Domestic Violence. Ms.
        Pierre-Louis is sued in her individual and official capacity.

                                      NYPD Officers

8.      NYPD Inspector Olufunmilo F. Obe (“Inspector Obe”) was at all relevant times
        an employee of the NYPD. On the dates of the incident, in or around October
        2014, she was assigned to the 28th Precinct in New York County (“28th Precinct”).
        Inspector Obe is sued in her individual and official capacity.

9.      NYPD Detective Linda Simmons (“Det. Simmons”) was at all relevant times an
        employee of the NYPD. On the date of the incident, October 14, 2010, she was

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         assigned to the 28th Precinct. Det. Simmons is sued in her individual and official
         capacity.

10.      NYPD Officer John Staines (“Officer Staines”) was at all relevant times an
         employee of the NYPD. On the date of the incident, July 2, 2015, he was assigned
         to the Midtown North Precinct in New York County (“MTN Precinct”). Officer
         Staines is sued in his individual and official capacity.

11.      NYPD Officer Iselaine Guichardo Hermene Gildo Cruz (“Officer Cruz”) was at
         all relevant times an employee of the NYPD. On the date of the incident, July 2,
         2015, she was assigned to the MTN Precinct. Officer Cruz is sued in her
         individual and official capacity.

12.      NYPD Lieutenant Nicholas Corrado (“Lt. Corrado”) was at all relevant times an
         employee of the NYPD. On the dates of the incident, July 2, 2015, he was
         assigned to the MTN Precinct. Lt. Corrado is sued in his individual and official
         capacity.

                                        MTA Officers

13.      MTA Police Officer Stephen Mears was at all relevant times an employee of the
         MTA. On the date of the incident in November 2016, he was working at Penn
         Station. MTA Officer Stephen Mears is sued in his individual capacity.

14.      MTA Police Officer Alison Schmitt was at all relevant times an employee of the
         MTA. On the date of the incident in November 2016, she was working at Penn
         Station. MTA Officer Alison Schmitt is sued in her individual capacity.

                                        Color of Law

15.      At all times relevant herein, Ms. Brooks, Ms. Pierre-Louis, Inspector Obe, Det.
         Simmons, Officer Staines, Officer Cruz, Lt. Corrado, MTA Officer Stephen
         Mears and MTA Officer Alison Schmitt (together, the “individual defendants”)
         were acting under color of state law.

                                           FACTS

                                     Ms. Price’s Career

16.      From 1998 to 2008, Ms. Price worked in the area of media and technology for
         various employers, including Corbis Images, JP Morgan and various International
         Photo-Journalism agencies including being a founding member of Polaris Images
         in September of 2002.

17.      At the time that Ms. Price left Polaris Images in 2008, she was earning on average
         $175,000 a year.


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18.      In 2008, Ms. Price co-founded an international photojournalism agency
         specializing in representing war correspondents.

                      Ms. Price’s Relationship With Raheem Powell

19.      From about September 2008 to December 2013, Ms. Price was in a “relationship”
         with Raheem Andre Powell (“Mr. Powell”).

20.      During the course of their relationship, Mr. Powell abused Ms. Price physically,
         mentally, and economically.

21.      At various times from about March 2010 to December 2013, Mr. Powell forced
         Ms. Price to engage in sexual acts with third parties and to provide to him monies
         accrued from performing such services, against Ms. Price’s will.

22.      In about November 2010, the Family Court issued an Order of Protection in favor
         of Ms. Price against Mr. Powell.

23.      In or about November 2010, Ms. Price took the Family-Court-issued Order of
         Protection to the 28th precinct in Harlem near her home to serve on Mr. Powell
         and she was refused by various members of the 28th precinct. when she requested
         it be served on Mr. Powell.

24.      On information and belief, at some point prior to October 28, 2011, the 28th
         precinct of the NYPD was directed by the Manhattan District Attorney’s office to
         not give police services or take reports from Ms. Price without the approval of the
         MDAO. As a result, Ms. Price was placed on a “Do Not Serve/Arrest Alert List”.

25.      On information and belief, at some point prior to July 28, 2013, Ms. Price was
         labeled a fabricator by the NYPD, and there as someone whose reports to the
         police were not to be given credence.

                     Det. Simmons Maliciously Prosecutes Ms. Price

26.      On or about October 11, 2010, Mr. Powell attacked Ms. Price on the street. Mr.
         Powell beat Ms. Price about the face, neck, and back with his hands and his
         mobile phone.

27.      On or about October 13, 2010, Ms. Price went to the 28th Precinct to ask for help
         to prevent her abuse by Mr. Powell.

28.      At the 28th Precinct, Ms. Price spoke to Officer Diaz. Ms. Price told Officer Diaz
         about the assault that occurred on or about October 11, 2010, and gave Officer
         Diaz the names and contact details of two witnesses to the attack. Officer Diaz
         organized for photos to be taken of Ms. Price’s injuries, including bruising to her
         face, back, and lower torso. She also told Officer Diaz that Mr. Powell was
         forcing her to engage in sexual acts for money against her will as a result of Mr.
         Powell’s violence.
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29.      After speaking with Officer Diaz, Ms. Price was not sure that she wanted to make
         a formal report. Officer Diaz told Ms. Price that he would not file a report until
         the next day, so that Ms. Price could “sleep on it”.

30.      After Ms. Price left the 28th Precinct, she decided that she did not want to make a
         report. Ms. Price did not want to make a report because she was frightened of
         retaliation by Mr. Powell and was worried about her professional career being
         ruined because of threats of blackmail Mr. Powell had sent to her via text message
         warning her he would reveal sensitive personal information about her to her
         family and professional circle if she reported him to the NYPD.

31.      On or about October 14, 2010, the day after she had spoken with Officer Diaz,
         Ms. Price returned to the 28th Precinct.

32.      At the 28th Precinct, Ms. Price told Officer McNair that she did not want to make
         a report. Officer McNair told Ms. Price that the report had already been filed, and
         suggested that Ms. Price speak with the detective been assigned to her case.

33.      Det. Simmons had been assigned to Ms. Price’s case.

34.      On the same day, Ms. Price spoke with Det. Simmons. Ms. Price told Det.
         Simmons that she did not want to make the report, and she did not want Mr.
         Powell to be arrested.

35.      Ms. Price told Det. Simmons that she was in an abusive relationship, and that she
         was being forced to perform sexual acts for money under the threat of violence
         and retaliation. Ms. Price told Det. Simmons that Mr. Powell kept all of the
         money from these activities and that he was violent towards her in order to
         enforce her compliance and that he had made threats of blackmail towards her if
         she went to the NYPD to report her abuse.

36.      Det. Simmons told Ms. Price that the only way to prevent Mr. Powell’s arrest was
         to retract the report, and that Ms. Price would need to file a statement stating that
         she had caused her own injuries.

37.      Det. Simmons told Ms. Price that, provided Ms. Price had no prior arrests, she
         would only be given a desk appearance ticket for making a false police report and
         would not go to jail.

38.      Ms. Price agreed to retract her report, and she told Det. Simmons that she had
         never been arrested.

39.      Det. Simmons put Ms. Price in a holding cell in the squad room while Det.
         Simmons searched the system to confirm Ms. Price had no prior arrests.

40.      After Det. Simmons did a criminal background check, she released Ms. Price
         from the holding cell so that Ms. Price could write the retraction.

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41.      At Det. Simmons’ direction, Ms. Price prepared a statement stating that she had
         caused the injuries to her face herself.

42.      When Ms. Price finished the statement the first time, Det. Simmons asked her to
         rewrite it with a later time on it in order for Det. Simmons to get overtime.

43.      After Ms. Price finished a second statement, Det. Simmons placed Ms. Price
         under arrest and put handcuffs on her.

44.      Det. Simmons then detained Ms. Price in a holding cell again. This detention
         lasted for approximately an hour.

45.      After Ms. Price had been detained for approximately an hour, Det. Simmons
         released Ms. Price and gave her a desk appearance ticket.

46.      Det. Simmons lacked any cause for commencing the proceeding against Ms.
         Price.

47.      Det. Simmons lacked any cause to believe that the proceeding against Ms. Price
         would succeed.

48.      Det. Simmons acted with malice in commencing a proceeding against Ms. Price,
         without any cause and without any belief that the proceeding would succeed.

49.      In about November 2010, Ms. Price attended a court date as required by the desk
         appearance ticket. She was told the charge would be adjudicated in six months if
         she did not get re-arrested.

50.      On or about January 28, 2011 Ms. Price attempts to make formal police reports
         about all of the abuse unhanded to her by Powell.

51.      On or about February 1, 2011 Ms. Price is called to the Manhattan District
         Attorney’s office by ADA Maria Strohbehn who informed Ms. Price that she was
         declining to charge Mr. Powell, and had put Ms. Price on a do-no-serve services
         list, and had informed NYPD that any involvement by the police with Ms. Price
         required ADA Strohbehn’s prior approval.

52.      On or about February 2011 ADA Maria Strohbehn has a conversation with Ms.
         Price’s landlord, Adam Gargani looking for information about Ms. Price’s alleged
         fabrications. Mr. Gargani stated that he wasn’t aware of any fabrications, and
         offered evidence that supported Ms. Price’s claims. Ms. Strohbehn hangs up the
         phone on Mr. Gargani. (See a written statement from Adam Gargani, attached as
         Exhibit A).

53.      On or about February 2011, Ms. Price is arrested by Detective Linda Simmons
         inside the Family Courthouse in Manhattan as she appeared to have her
         restraining order renewed by Hon. Judge Sattler and charged with 324 counts of

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         NYS CPL 240.30(11) for allegedly harassing her abuser, Raheem Powell,
         electronically via text and telephone calls.

54.      On or about May 8, 2011 Ms. Price is arrested for Felony Contempt of Court and
         placed on Rikers Island.

55.      The desk appearance ticket was always mentioned along with certain other
         charges improperly brought against Ms. Price arising out of unlawful arrests in
         February through May 2012. Note of the desk appearance ticket appeared in her
         case file at each court appearance she made in connection therewith.

56.      On several occasions the Manhattan District Attorney’s office made offers to Ms.
         Price’s Legal Representatives on or about February of 2012 offering to dismiss
         the desk appearance ticket and the other counts if Ms. Price would plead guilty to
         two counts of disorderly conduct. Miss Price refused the offers.

57.      On or about July 25, 2012 Ms. Price arrived in the I-DV Part of NY Supreme
         Court at 100 Centre St and was told by Hon. Judge Tandra Dawson’s clerk that all
         charges had been dismissed and sealed against her and that she was free to go.
         Miss Price inquired as to why she was not to make an appearance and have the
         charges formally dismissed in court in front of the judge and to receive proof but
         Miss Price was rebuffed and told to leave the courtroom.

58.      On or about July 27, 2012 Miss Price received certificates of dismissal for charges
         stemming from her February through May 2012 arrests from the Clerk’s office at
         100 Centre St. on the 7th floor. She was told that the COD for the desk appearance
         ticket could be obtained downstairs on the first floor but that office was closed
         when Ms. Price visited it that same day.

59.      On our about August 24, 2016 Ms. Price visited that clerk’s window on the first
         floor of 100 Centre St. and inquired about a certificate of dismissal for the desk
         appearance ticket. Ms. Price was informed the desk appearance ticket had never
         been adjudicated and still remained open after almost six years.

60.      Ms. Price inquired with the MDAO as to why the charge had never been
         adjudicated and was met with silence. She was told she could pick up her COD in
         approximately two weeks.

61.      On September 9, 2016, the proceedings commenced by Det. Simmons terminated
         in Ms. Price’s favor with a certificate of dismissal issued by the MDAO.

         Lt. Corrado, Officer Cruz and Officer Staines Falsely Arrest Ms. Price

62.      On July 2, 2015, Ms. Price was assaulted by a stranger at the Ivy, a bar and
         restaurant located at Eighth Avenue and West 56th Street, New York.

63.      On the same day, Ms. Price went to the MTN (NYPD Midtown North) Precinct to
         file a complaint about her assault.
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64.      At the MTN Precinct, Ms. Price spoke to a red-headed man behind the desk. On
         information provided by the Defendants pursuant to a Valentin order, that man
         was Lt. Corrado.

65.      Lt. Corrado refused to take Ms. Price’s report about the assault.

66.      Ms. Price requested to speak to the Commanding Officer of the MTN Precinct,
         and then sat on a chair in the waiting area.

67.      Lt. Corrado told Ms. Price to leave or she would be arrested.

68.      Ms. Price refused to leave and said that the precinct had to take her “61” (the code
         for an assault).

69.      A young female police officer was ordered to be present in the waiting area. On
         information provided by the Defendants pursuant to a Valentin order, that female
         officer was Officer Cruz.

70.      Lt. Corrado indicated to Officer Cruz that she should go over to Ms. Price.

71.      Ms. Price asked Lt. Corrado on what basis she would be arrested, and Lt. Corrado
         answered “we’re not arresting you, we’re taking you to Bellevue”.

72.      Officer Cruz physically pulled Ms. Price out of her seat and put handcuffs on Ms.
         Price.

73.      Officer Cruz detained Ms. Price in the waiting room until an ambulance arrived to
         take Ms. Price to Bellevue.

74.      When the ambulance arrived, Officer Cruz put Ms. Price in the ambulance.
         Officer Cruz also rode in the ambulance.

75.      Officer Cruz continued to detain Ms. Price for the duration of the journey to
         Bellevue.

76.      At Bellevue Hospital, a male officer was present. On information provided by the
         Defendants, that male officer was Officer Staines.

77.      At Bellevue Hospital, Officer Staines and Officer Cruz continued to detain Ms.
         Price for about 1 hour.

78.      Officer Staines went through Ms. Price’s bag and her personal effects, including
         her medication and contact cards. While going through Ms. Price’s bag, Officer
         Staines made a circular motion next to his ear using his finger, to indicate that Ms.
         Price was crazy.

79.      At the direction of Bellevue Hospital Staff, Officers Staines and Cruz removed
         the handcuffs from Ms. Price and left the hospital.
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80.      Bellevue Hospital kept Ms. Price for two hours for observation, reviewed her
         medical records, which were already at the hospital, and then released her.

81.      Lt. Corrado, Officer Cruz and Officer Staines, had no basis to believe that Ms.
         Price was likely to cause harm to herself or others.

82.      Lt. Corrado, Officer Cruz and Officer Staines detained and hospitalized Ms. Price
         against her will.

83.      There was no immediate need for mental health treatment for Ms. Price while she
         was at Bellevue.

        City And Its Employees Block Ms. Price From Public Twitter Accounts

                                            Twitter

84.      Twitter is a social media website. People or organizations who have an account
         with Twitter (“users”) can share short public posts (“tweets”).

85.      Each user has a private news timeline that shows, among other things, tweets
         collated from other Twitter accounts that the user follows.

86.      Each Twitter user has a public profile page. A profile page includes, amongst
         other things:

         a.     a profile photo and a background photo, chosen by the user;

         b.     a short description, written by the user;

         c.     a list of statistics, automatically generated by Twitter, showing (among
                other things) the number of accounts that the user follows and the number
                of accounts that follow the user;

         d.     a “feed”, automatically generated by Twitter, showing in reverse
                chronological order all posts (“tweets”) by that user, with links below each
                tweet showing the number of replies to that tweet, the number of times
                that tweet has been shared (“retweeted”) by other users, and the number of
                other users who liked that tweet.

87.      Without logging in to Twitter, it is possible to view a profile page for an account
         but it is not possible to reply to that account’s tweets, or view anyone else’s other
         replies to that account’s tweets.

88.      When a user is blocked by another Twitter account, that user:

         a.     is unable to reply to the blocked account’s tweets;



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         b.     is unable to view any replies (by other users) to the blocked account’s
                tweets;

         c.     is unable to share (retweet) any tweet by the blocked account; and

         d.     will not see the blocked account’s tweets in the user’s news timeline.

89.      There is no ability of an account owner to delete another user’s tweet to his
         account without blocking the other user.

90.      Ms. Price maintains an account on the website Twitter. The account is called “K
         Grace Price” and has the handle “@GracieeGorgeous”.

                                 The City’s Use Of Twitter

91.      The City maintains a number of accounts on Twitter.

92.      The City maintains a Social Media Customer Use Policy, published on the
         internet at http://wwvv.nyc.gov/html/misc/html/social_medikpolicy.html (“City
         Social Media Policy”). This Social Media Customer Use Policy has been updated
         at least twice since 2014.

93.      The City Social Media Policy states that: “Communicating with the City through
         social media ... enables customers to contact the City in a direct and meaningful
         way”.

94.      The City Social Media Policy provides that a comment may be deleted if it
         violates the comment policy.

      Inspector Obe Blocks Ms. Price From The Twitter Account Of The 28th Precinct

95.      At all relevant times, Inspector Obe maintained a Twitter account for the 28th
         Precinct. The account is called “NYPD 28th Precinct” and has the Twitter handle
         “@NYPD28Pct” (“NYPD28Pct Account”).

96.      The profile page for NYPD28Pct Account states that it is “The official Twitter of
         the 28th Precinct” and provides a link to the City Social Media Policy.

97.      The profile page does not otherwise limit the purpose or topic of the NYPD28Pct
         Account.

98.      NYPD28Pct was a public forum.

99.      In fact, a report from the Berkman Klein Center for Internet & Society at Harvard
         University states, “the first priority and initial impetus for using Twitter was to
         increase interaction with the communities in which police officers work every
         day. (See page 18 of the quoted report, attached as Exhibit B).

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100.   In the alternative, NYPD28Pct was a limited public forum.

101.   In about October 2014, Ms. Price followed the NYPD28Pct Account.

102.   From time to time, Ms. Price publically replied to tweets from the NYPD28Pct
       Account. For instance:

       a.     On October 14, 2014, Ms. Price posted a reply to NYPD28Pct stating:

                      @NYPD28Pct @sffny ATTN Insp OBE: link 4
                      #DomesticViolence prevention leads to a JEWELRY MALL. Your
                      selection is nice ow.ly/CdI1G

       b.     On October 14, 2014, Ms. Price posted a reply to NYPD28Pct stating:

                      @NYPD28Pct @sffny nice selection INSP OBE! Any extra time
                      to respond to the letter I sent 2 your precinct about #DV?

103.   On or about October 14, 2014, Inspector Obe blocked Ms. Price from the
       NYPD28Pct Account without notifying Ms. Price or providing reasons for
       blocking her.

104.   At the date of this complaint, Ms. Price remains blocked from the NYPD28Pct
       Account.

105.   As a consequence of Inspector Obe blocking Ms. Price, Ms. Price:

       a.     was and is unable to reply to any tweets by the NYPD28Pct Account;

       b.     was and is unable to view any replies (by other users) to tweets by the
              NYPD28Pct Account;

       c.     was and is unable to post any information for all followers of the
              @NYPD28 pct to have broadcast into their Twitter Feeds by beginning
              her tweet(s) with the @NYPD28pct handle.

       d.     was and is unable to share (retweet) any tweet by the NYPD28Pct
              Account; and

       e.     was and is unable to see the tweets by the NYPD28Pct Account in her
              news timeline.

106.   Inspector Obe blocked Ms. Price to retaliate against Ms. Price for her criticism of
       the domestic violence assistance rate within the 28th Precinct.

107.   Further, or in the alternative, Inspector Obe blocked Ms. Price to prevent her from
       publically criticizing the 28th Precinct.


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108.   Further, or in the alternative, Inspector Obe blocked Ms. Price to prevent users
       who followed NYPD28Pct from being able to view Ms. Price’s comments.

109.   Further, or in the alternative, Inspector Obe blocked Ms. Price to retaliate against
       Ms. Price for her criticism of Inspector Obe’s linking to an “Earrings Plaza”
       online shopping cart containing jewelry items selected to-be-purchased instead of
       a November 2014 schedule of events for NYC Domestic Violence Awareness
       Month in a posting she made from the @NYPD28pct Twitter account.

Ms. Brooks Blocks Ms. Price From The Twitter Account Of the New York City Office
                          To Combat Domestic Violence

110.   At all relevant times, Ms. Brooks maintained a Twitter account for the New York
       City’s Mayor’s Office to Combat Domestic Violence. The account is called
       “Office to Combat DV” and has the Twitter Handle “@NYCagainstabuse”
       (“NYCagainstabuse Account”).

111.   In about October 2014, Ms. Price followed the NYCagainstabuse Account.

112.   NYCagainstabuse was a public forum.

113.   In the alternative, NYCagainstabuse was a limited public forum.

114.   From time to time, Ms. Price publically replied to tweets from the
       NYCagainstabuse Account. For instance:

       a.     On October 10, 2014, Ms. Price posted a reply to the NYCagainstabuse
              Account stating:

                      @NYCAGAINSTABUSE @NYPD28Pct victims be wary of the
                      2-8: their “Help” put me #Rikers & my abuser walked
                      chn.ge/11fKJZd #JAILSACTION

       b.     On November 3, 2014, Ms. Price posted a reply to the NYCagainstabuse
              Account stating:

                      @NYCagainstabuse Many more women could have benefitted
                      from services at a FJC but were barred because they were falsely
                      labeled “fabricators.”

       c.     On December 1, 2014, Ms. Price posted a reply to the NYCagainstabuse
              Account stating:

                      @NYCagainstabuse where do we go when wrongly dubbed as
                      “fabricators” by #MYNYPD & @manhattanda & denied entrance
                      to Family Justice Centers?


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115.   On December 1, 2014, Ms. Brooks sent a direct message to Ms. Price from the
       NYCagainstabuse Account, asking Ms. Price for her phone number.

116.   On the same day, Ms. Price replied to Ms. Brooks with information about Ms.
       Price’s contact details.

117.   On or about December 1, 2014, Ms. Brooks blocked Ms. Price from
       NYCagainstabuse without notifying her or providing her with any reasons for
       blocking her.

118.   At the date of this complaint, Ms. Price remains blocked from the
       NYCagainstabuse Account.

119.   As a consequence of Selvena Brooks blocking Ms. Price, Ms. Price:

       a.     was and is unable to reply to any tweets by the NYCagainstabuse
              Account;

       b.     was and is unable to view any replies (by other users) to tweets by the
              NYCagainstabuse Account;

       c.     was and is unable to post any information for all followers of the
              @NYCagainstabuse account to have broadcast into their Twitter Feeds by
              beginning her tweet(s) with the @NYCagainstabuse handle.

       d.     was and is unable to share (retweet) any tweet by the NYCagainstabuse
              Account; and

       e.     was and is unable to see the tweets by the NYCagainstabuse Account in
              her news timeline.

120.   Ms. Brooks blocked Ms. Price to retaliate against Ms. Price for her criticism of
       the domestic violence assistance rate by the City.

121.   Further, or in the alternative, Ms. Brooks blocked Ms. Price as per the instruction
       of her supervisor, Rose Pierre-Louis, Commissioner of the Mayor’s Office to
       Combat Domestic Violence at the time.

122.   Further, or in the alternative, Ms. Brooks blocked Ms. Price to prevent her from
       publically criticizing the City for its response on domestic violence and/or to
       cover-up Ms. Price’s unconstitutional handling as a victim of domestic violence
       by the City and its agents and agencies

123.   Further, or in the alternative, Selvena Brooks blocked Ms. Price to prevent users
       who followed NYCagainstabuse from being able to view Ms. Price’s comments.

124.   On information and belief, Ms. Pierre-Louis was the supervisor of Ms. Brooks.

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             Pierre-Louis Blocks Ms. Price From Public Twitter Account

125.   At all relevant times, Ms. Pierre-Louis was the commissioner of the Mayor’s
       Office to Combat Domestic Violence.

126.   Ms. Pierre-Louis maintains a Twitter account called “Rose Pierre-Louis” with the
       handle @RPLNYC.

127.   Ms. Pierre-Louis used the account to disseminate official information during the
       time that she was Commissioner and had responsibility for combating domestic
       violence.

128.   Ms. Pierre-Louis identified herself as the NYC Commissioner of the Mayor’s
       Office to Combat Domestic Violence at the top of her page.

129.   Ms. Pierre-Louis gained followers and credibility by naming her official title on
       her @RPLNYC twitter account and disseminating official information and
       offering her editorial opinion of that information in her capacity as Commissioner
       for the NYC Mayor’s Office to Combat Domestic Violence.

130.   NYC’s own media training materials and instructions for its employees, agents,
       and agencies with social media accounts are explicit that once you disseminate
       official information from a private Twitter account and/or name your official city
       title on a social media account that that account is then considered “Donated” to
       the City of New York and no longer the property of the private citizen who
       works/has worked for the Government. (See attached excerpts from NYC Digital
       Strategy Social Media Tips, Guidelines & Best Practices as Exhibit C).

131.   As a result this account was a public forum.

132.   In the alternative, this account was a limited public forum.

133.   In or about October 2014, Ms. Pierre-Louis blocked Ms. Price from viewing and
       posting replies to the @RPLNYC Twitter account.

134.   Ms. Pierre-Louis did not notify Ms. Price or provide any reasons why she had
       been blocked.

135.   As of the date of this complaint Ms. Price remains blocked from the @RPLNYC
       account.

136.   Ms. Pierre-Louis blocked Ms. Price to retaliate against Ms. Price for her criticism
       of the domestic violence community’s response to her secondary victimization by
       the criminal justice system.

137.   Further, or in the alternative Ms. Pierre-Louis blocked Ms. Price to mitigate fears
       that other victims may harbor when facing turning to authorities for help if they
       learned of Ms. Price’s fate when she attempted to do so.
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       City’s Practice and Custom of Blocking Unfavorable Comments on Social Media

138.     While NYC’s own media training materials and instructions for its employees,
         agents, and agencies with social media accounts are explicit that people are not to
         be blocked on Social Media based on viewpoint (.), the City has a practice and
         custom of blocking unfavorable comments on social media.

139.     The fact that municipal employees blocked Ms. Price on more than one occasion
         because she was critical of the City demonstrates that these employees likely
         acted in accordance with an unwritten practice or custom of blocking users who
         criticizeued the police and the City.

140.     The City’s failure to train employees on the proper use of social media carries a
         high risk that deleting comments or blocking users will cause violations of those
         users’ First Amendment rights. Further, and in the alternative, the City’s role in
         formulating and overseeing the City’s Social Media Policy places them in the
         position of ratifying the conduct of the municipal employees.

                     City Fails To Remedy After Ms. Price Complains

141.     On or about October 14, 2014, Ms. Price lodged a complaint with the City, via the
         311 hotline, about the 28th Precinct blocking Ms. Price from the NYPD28Pct
         Account.

142.     In or about December 2014 or January 2015, Ms. Price used a secondary twitter
         account she had to complain about being blocked from the @RPLNYC Twitter
         account.

143.     In or around December 2014, Ms. Price emailed the Mayor’s office to combat
         domestic violence to complain about being blocked from @NYCagainstabuse.

144.     In or about February of 2015 Ms. Price made a 311 complaint about the Mayor’s
         office to combat domestic violence blocking her on Twitter.

145.     In or about February of 2015 Ms. Price met Rose Pierre-Louis at a Women’s
         History Event at the Bryant Park Hotel sponsored by the Federation of Protestant
         Welfare Agencies and asked her to stop blocking Ms. Price.

146.     In or around February of 2016 Ms. Price complained orally to the new
         Commissioner of Domestic Violence who has replaced Rose Pierre Louis about
         being blocked on Twitter.

147.     In or around May of 2017 Ms. Price discussed being potentially unblocked by the
         28th pct with the new Commanding Officer who has replaced Inspector Obe.

148.     In or around May of 2017 Ms Price complained orally to NYPD Commissioner
         James O’Neill about being blocked on Twitter.

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149.   None of the Defendants or other City employees responded to Ms. Price’s
       complaints, or took any steps to remedy the wrongful blocking of her from the
       Twitter Accounts.

                   November 2016 Incident Involving MTA Police

150.   On November 17, 2016, Ms. Price was being harassed by several individuals on
       the platform of the uptown 1 train at Penn Station.

151.   Two MTA officers, one male (MTA Officer Stephen Mears) and one female
       (MTA Officer Alison Schmitt), came up to the group and caused the group to
       disperse.

152.   As Ms. Price was walking away, MTA Officer Stephen Mears attacked her from
       behind without provocation. His attack caused bruising on her arms and legs and
       knocked out one of her front teeth, which was an implant.

153.   Ms. Price asked why she was being arrested and MTA Officer Stephen Mears said
       she was not being arrested but was going to be brought to Bellevue Hospital’s
       psych ward.

154.   MTA Officer Stephen Mears handcuffed Ms. Price.

155.   Ms. Price informed MTA Officer Stephen Mears that as a 9/11 survivor that
       Bellevue has her psychiatric records because of the Zadroga Health Care Program
       for survivors and that she would be discharged in a matter of minutes after
       arriving at that facility.

156.   MTA Officer Alison Schmitt called paramedics, who conveyed her in a
       wheelchair to the MTA police station within Penn Station.

157.   Ms. Price was detained for approximately 30 minutes in the Penn Station MTA
       police station.

158.   When Ms. Price tried to speak, she had difficulty because of her missing tooth and
       MTA Officer Alison Schmitt mocked her for lisping.

159.   MTA Officer Alison Schmitt informed Ms. Price that they had decided to take her
       not to Bellevue but to St. Vincent’s Hospital.

160.   MTA Officers Stephen Mears and Alison Schmitt reviewed the contents of Ms.
       Price’s bag and called an ambulance.

161.   MTA Officer Stephen Mears dragged Ms. Price into the St. Vincent’s Hospital
       emergency room from the ambulance parked in the back, injuring Ms. Price’s
       knee and causing substantial bruising. He indicated to an emergency room nurse
       that Ms. Price should be sedated.

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162.   Ms. Price protested that she did not wish to be sedated merely separated from
       MTA Officer Stephen Mears but the nurse sedated her despite her protests.

163.   As Ms. Price fought the sedative she observed MTA Officer Stephen Mears going
       through all the contents of her purse including confidential medical/psychological
       diagnosis letters marked “CONFIDENTIAL” and read the letters out loud to the
       audience of nurses and orderlies in the atrium open-air style emergency room at
       St. Vincent’s. Officer Stephen Mears also mocked Ms. Price calling her a liar for
       claiming to be a 9/11 survivor until he found a letter in her notebook from the
       Zadroga 9/11 Health Care Program. Officer Stephen Mears went through all of
       Ms. Price’s personal business cards and made notes of certain NYC officials she
       had the contacts for.

164.   Ms. Price woke up approximately 8 hours later and was released after she glued
       her tooth back in.

165.   MTA Officers Stephen Mears and Alison Schmitt had no basis to believe that Ms.
       Price was likely to cause harm to herself or others.

166.   MTA Officers Stephen Mears and Alison Schmitt detained and hospitalized Ms.
       Price against her will.

167.   There was no immediate need for mental health treatment for Ms. Price while she
       was at St. Vincent’s.

168.   Upon leaving St. Vincent’s Hospital, a nurse handed Ms. Price two tickets from
       MTA Officers Stephen Mears and Alison Schmitt, one for public intoxication and
       one for disorderly conduct.

169.   In March 2017, these two tickets were terminated in Ms. Price’s favor by a
       Midtown Manhattan Court Judge in that they were dismissed as facially
       insufficient and ordered sealed by the judge.

City And Its Employees Again Decline Service to Ms. Price -- January 24, 2017 Incident

170.   On January 24, 2017, Ms. Price was assaulted on the downtown 1 train by an
       unknown individual.

171.   Immediately after the assault, a subway reported the incident and officers from
       the 34th Precinct and TB3 responded to the assault. Ms. Price attempted to make a
       report to officers from the 34th Precinct and TB3 who responded to the assault.

172.   To the best of Ms. Price’s knowledge, Officer Emmet, Badge No: 5191, who
       responded to the assault, took Ms. Price’s ID, and stepped away from Ms. Price.

173.   Upon returning Ms. Price’s ID, the Officer Emmet said that she should call the
       TB the next day for an incident report number.

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174.   The next day Ms. Price called TB3, and the unknown person who answered her
       call informed her that no report had been made yet but to call back the next day.

175.   Ms. Price called on January 26th and received the same response from the person
       who answered the phone.

176.   On January 27th, Ms. Price called TB3 again regarding the assault, and the person
       who picked up the phone put Ms. Price through to Lt. Raymond DeJesus of TB3.

177.   Ms. Price complained to Lt. DeJesus about the failure to process her report. Ms
       Price said she knew whe was on a do not serve list and had been blacklisted by
       the NYC police department.

178.   Lt. DeJesus at that point asked Ms. Price to send the video tape of the assault.
       DeJesus requested the video be sent to him to the email address:
       raymond.dejesus@nypd.org ,which Ms. Price did on January 27, 2017.

179.   A few days after speaking with Lt. DeJesus on January 27th, Ms. Price called TB3
       again regarding her assault and was again put through by the person who
       answered the phone to Lt. DeJesus. During Ms. Price’s phone call with Lt.
       DeJesus, and the Lieutenant promised a full investigation regarding the assault.

180.   About a week after her phone call with Lt. DeJesus, Ms. Price called TB3 again to
       check on the status of the investigation of her assault, and was put through by the
       person who answers the phone to Sergeant Shevitz. Sgt. Shevitz also promised a
       full investigation regarding the assault. Specifically, Sgt. Shevitz promised that a
       detective would be assigned to the case.

181.   To this date nothing has been done to follow-up on this incident.

182.   On information and belief, this denial of service to Ms. Price was pursuant to a
       policy, practice or custom of the City to deny service to individuals such as Ms.
       Price who are on a do not serve list or have been labeled a fabricator in the City’s
       records. The source of that information and belief include:

       a.     Statements to Ms. Price by numerous police officers, including PO Walker
              (October 18, 2012), from the NYPD 28th Pct; Lt. LaRocca from the NYPD
              28th Pct (on or about October 28, 2011); and PO Officer at the NYPD 28th
              PCT (in or about June 2013) that the precinct had been directed by the
              Manhattan District Attorney’s office to not give police services or take
              reports from Ms. Price without the approval of the MDAO and that Ms.
              Price has been placed on a “Do Not Serve/Arrest Alert List”.

       b.     Statements by various members of the NYPD heard by Ms. Price’s
              neighbors on 120th St and her landlord that Ms. Price had been placed on a
              “do not serve” list by the NYPD (See a written statements from Ms.
              Price’s neighbors, attached as Exhibit D).

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       c.     A statement on or about July 28, 2013 by one of Ms. Price’s
              acquaintances, who had been working on an NYPD technology project,
              that Ms. Price had been erroneously identified as “patient zero” for an
              NYPD algorithm that would allegedly identify “fabricators.”

       d.     A December 18, 2015 affidavit from Lt. LaRocca (formerly of the 28th
              precinct of the NYPD) stating that in essence that Manhattan District
              Attorney’s Office had issued a “NO Services” order regarding Ms. Price to
              the NYPD (see a written statement from Lt. LaRocca attached as
              Exhibit E)

                                       INJURIES

183.   As a result of the City and the NYPD Defendants’ malicious prosecutions, false
       arrests and denials of service, Ms. Price has suffered the following injuries: she
       has been diagnosed with Borderline Personality Disorder and with Complex-Post
       Traumatic Stress Disorder, requiring her to seek expensive and bi-weekly
       treatment; emotional pain and suffering; anguish and anxiety about being labeled
       a pariah by the NYPD and denied protections in a city where her family has lived
       for four generations and in which Ms. Price survived the terrorist attacks of 9/11;
       inability of Ms. Price to continue working in her profession of journalism or to
       hold any job professionally.

184.   As a result of the MTA Officer Defendants’ false arrest and malicious
       prosecution, Ms. Price suffered:

       a.     bruises to her arms, torso, and legs; significant loss of use of her right
              knee, and loss of an implanted front tooth; hearing loss in her right ear;

       b.     Borderline Personality Disorder and with Complex-Post Traumatic Stress
              Disorder, requiring her to seek expensive and bi-weekly treatment;
              emotional pain and suffering; anguish and anxiety about being labeled a
              pariah by the NYPD and denied protections in a city where her family has
              lived for four generations and in which Ms. Price survived the terrorist
              attacks of 9/11; inability of Ms. Price to continue working in her
              profession of journalism or to hold any job professionally; and

       c.     miscarriage of a child fathered by Mr. Powell;

185.   As a result of the acts of Defendants NYC, Inspector Obe, Ms. Pierre-Louis and
       Ms. Brooks, Ms. Price was stifled in her efforts to express her views about the
       City’s policies, practices and customs with respect to treatment of domestic
       violence victims.




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                                         CLAIMS

  Violation of 42 USC s. 1983 -- First Amendment — against Defendant NYC and
 against Defendants Obe, Pierre-Louis and Brooks (in their individual and official
                                     capacities)

186.    Blocking Ms. Price from various City-sponsored Twitter accounts as set forth
        above violated Ms. Price’s rights under the First Amendment.

 Violation of 42 USC s. 1983 -- Fourth Amendment — against Defendant NYC and
     against Defendant Det. Simmons (in her individual and official capacities)

187.    The malicious prosecution of Ms. Price following her 2010 report to Detective
        Simmons as set forth above violated Ms. Price’s rights under the Fourth
        Amendment.

 Violation of 42 USC s. 1983 -- Fourth Amendment — against Defendant NYC and
  against Defendants Corrado, Cruz and Staines (in their individual and official
                                     capacities)

188.    The false arrest of Ms. Price in July 2015 as set forth above violated Ms. Price’s
        rights under the Fourth Amendment.

 Violation of 42 USC s. 1983 -- Fourth Amendment — against Defendant NYC and
  against MTA Defendants Stephen Mears and Alison Schmitt (in their individual
                                     capacities)

189.    The false arrest and malicious prosecution of Ms. Price in November 2016 as set
        forth above violated Ms. Prices’ rights under the Fourth Amendment.

 Violation of 42 USC s. 1983 -- Fourteenth Amendment — against Defendant NYC
and Defendants Rose Pierre-Louis; Selvena Brooks; Inspector Olufunmilo F. Obe;
   Detective Linda Simmons; Officers John Staines; Officer Iselaine Guichardo
Hermene Gildo Cruz; Lt. Nicholas Corrado; Lieutenant Raymond DeJesus; Officer
   Emmet; Sergeant Shevitz, MTA Officer Stephen Mears, MTA Officer Alison
                 Schmitt (in their individual and official capacities)

190.    The denial of services to Ms. Price on January 24, 2017 and thereafter as set forth
        above violated Ms. Price’s rights under the Fourteenth Amendment.

                                          RELIEF

The Plaintiff, Ms. Price, respectfully requests the following relief:

A.      A declaratory judgment from the Court that Defendants’ conduct violated the
        First, Fourth and Fourteenth Amendments of the United States Constitution and
        federal civil rights statutes 42 U.S.C. §§ 1983;

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B.      A permanent injunction restraining the Defendants from placing the Plaintiff on a
        do-not-serve list and/or a list that identifies her as a “fabricator” to be not taken
        seriously, or as someone with a LOW credibility algorithm rating by the NYPD or
        authorities;

C.      Award to the Plaintiff of compensatory damages in the amount of $30 million
        against all Defendants, jointly and severally, including compensation for the
        Plaintiff’s emotional distress;

D.      Award to the Plaintiff of punitive damages in the amount of $10 million against
        all Defendants on the basis of their conscious wrongdoing;

E.      All other relief this Court finds appropriate and just.



November 15, 2019

                                                CRAVATH, SWAINE & MOORE LLP



                                                   by

                                                         /s/ Kelsie Docherty



                                                         Kelsie Docherty




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                                                        Attorney for Plaintiff Kelly Price

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Adam Gargani

To Whom It May Concern:

This reviews a phone conversation I had with the New York City's District
Attorney's Office.

On February 2 of 2011 I received a voicemail message from Maria Strohbhen
stating she was from the District Attorney's Office and was calling as part of a
matter she was handling with one of my tenants, and requested a return call,
which I did.

The matter involved Kelly Price who was my tenant at that time at 237 West
   th
120 Street, #1 New York, NY 10027 from July of 2007 to August of 2013.

Miss Strohbhen had several questions to ask me concerning events that had
taken place at the building. Specifically these involved incidents where the poJice
had been called and other events that involved altercations between Ms. Price ,
and a man.

Miss Strohbhen asked me about my knowledge of these events. In both the
structure of the questions and the inflection with which these were asked, it was
apparent that the purpose was to question whether these events happened, and
as it was directly communicated, to question whether Ms. Price had been telling
the truth, which she posed was not the case.

I informed Miss Strohbhen that I was aware of issues taking place by reports ·
from my other tenants as well as conversations with Ms. Price. I told Miss
Strohbhen that although I did not have any direct knowledge of what took place
since I did not live at the building, and was not present when they occurred, I also
had no reason to question the veracity of either the reports from my other tenants
or Ms. Price.

I would characterize the reaction of Miss Strohbhen to my responses as
frustrated or annoyed.

She indicated that she was dealing with Ms. Price and was looking to assemble
information that refuted claims that Ms. Price had made. She suggested that Ms.
Price had been making false statements. I told Miss Strohbhen that I although I
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en told, that in my dealings with Ms. Price as a tenant in general I had no
ison to presume that her claims, or the reports of my other tenants, were les: ,
in the truth.

e names of other tenants or neighbors were not requested.

ss Strohbhen gave me the impression she was less than satisfied with the
tcome of her call and ended it abruptly.


1cerely,




lam Gargani
                                th
ndlord and Owner of 237 West 120 Street, NY NY 10027


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7 Carleton Avenue
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                               September 12, 2016




        Culture Change and Digital Technology:
The NYPD under Commissioner William Bratton, 2014-2016



                                  Susan Crawford
                                    Laura Adler




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Culture Change and Digital Technology:
The NYPD under Commissio ner William Bratton, 2014-2016

Susan Crawford 1
Laura Adler 2

Sept. 12, 2016


I. Introduction
During the second term of New York Police Department Commissioner William Bratton (2014-2016), a
significant shift in the culture of the department took place, aimed at changing policing nationwide.
Where prior commissioners had concentrated power in a small group of leaders at the highest levels of the
NYPD, Bratton pushed authority and accountability down to a large group of NYPD chief\, precinct
commanders, supervisors, and individual police officers. Bratton also aimed to dramatically improve
neighborhood interactions with police through a host of techniques, all part of a shift in emphasis away
from an exclusive focus on crime reduction and towards a balanced strategy of crime prevention and
community outrcacb--an effort. in Commr. Bratton's words, to move from a "warrior" to a "guardian''
policing mindset.

Among his major initiatives was the pioneering use of social media and other digital technologies to
foster wider communication s channels between officers and community members. Commr. Bratton
embraced the potential of social media platforms at a time when many police departments viewed the
transparency of social media engagement as a threat. And social media was not an end in itself for
Comrnr. Bratton. Instead. it was part of a constellation of initiatives aimed at transforming policing in
New York City at a critical moment in the city's history. In addition to technology adoption, Commr.
Bratton re-engineered the management of the NYPD, restructuring offices, roles, and personnel, and
drove a neighborhood policing modcl--a pared-down version of a traditional beat cop---into several
NYPD precincts. These programs will continue to evolve under James O'Neill, Commr. Bratton's
successor, who has emphasized his commitment to both principles and practices developed by Comrnr.
Bratton.

Comrnr. Bratton's digital technology strategy provides a useful lens for examining this broader Bratton
shift. He hoped that use of social media as a communication s channel would both help officers and
citizens trust each other more and provide individual officers with a sense of autonomy within the
Department's large bureaucracy. He hoped for secondary benefits as well: the idea was that stronger
communication s would foster a more positive public perception of the police, improving the quality of
daily interactions and encouraging citizens to participate more actively in the prevention and resolution of
crimes.

It is difficult: to claim that Cornmr. Bratton's technology initiatives, taken in isolation, have had a major
impact. Indeed, it is likely that few New Yorkers have noticed what the NYPD has been up to in terms of
social media use: the numbers of NYPD's T,vitter followers arc low, in the hundreds or thousands per
precinct, in a city of nearly nine million; NYPD precinct commanders have used Twitter as mostly a
broadcast engine for good news rather than a two-way channel of communication s; and community use of
ldeaScalc has been extremely limited.

Nonetheless, it is similarly difficult to overstate just how fundamental a change these primitive social
media steps represented with respect to NYPD culture, particularly in contrast to the command-and-

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control Kelly years. The idea of an individual precinct commander Tweeting, without approval from
centralized leadership, would have been impossible to imagine under any previous administration.

Opening up on line engagement aligned with the leadership style Commr. Bratton had developed during
his time at the helm in New York and Los Angeles. As Chief of Detectives Robert Boyce explained, "we
knew he was an innovator." and Cornmr. Bratton did not shy away from disrupting the status quo. This
cultural change is now embedded within NYPD precincts: in every precinct participating in the
department's neighborhood policing program (a program pushed and led by now-Commr. O'Neill). a
police officer has been charged with running the precinct's Twitter and Facebook presence and
responding promptly to citizen input (and ifidcaScale is still in use in those precincts. that officer will
also responsible for that platform). For a department that did not offer reliable Internet access to precincts
when Commr. Bratton arrived in January 2014, this is a substantial change.

Over the course of a year (July 2015-August 2016), Susan Crawford conducted dozens of lengthy
interviews of NYPD leaders and employees, including Comrnr. Bratton. Through these sessions, we
(Crawford and Adler) learned about NYPD's somewhat clumsy adoption of Twitter and an ideation
platform called TdeaScalc aimed at allowing community members to nominate "quality of life" issues for
resolution by the police. We heard about the department's pivot to Facebook as an interactive
communication s platform following its experience with ldcaScalc. We also gathered information about
the revised training regimen and the department's ongoing efforts to upgrade its basic digital assets. from
precinct Internet access to srnartphoncs.

We did not focus on surveillance carried out by the NYPD by way of social media and other public (and
non-public) sensor efforts; while this is an important part of technological <.:hange. other people have clone
this work. We were more interested in how Comrnr. Bratton and the NYPD saw affirmative two-way use
ofTwittcr/lclca Scalc/Faccbook communication s as part of an overall effort to support police/commun ity
relations.

New Yorkers arc now sai'cr in the city than they have been in years. Yet tensions between police officers
and the communities in which they work have continued to mount in New York, as in other cities across
the country. Just this past summer, racial violence erupted in Milwaukee and Baton Rouge in response lo
the fatal shooting of Philando Castile and Alton Sterling. Milwaukee joined other cities like Baltimore
and Ferguson, Mo .. in which police killings have been seen as brutal evidence of the disrespect that many
African Americans say the police show them. The challenge facing the NYPD today is to maintain safe
streets while ushering in a new era of mutual respect between officers and local communities. At this
early stage of digital technology adoption, the NYPD's attempt to change the culture ofpolicing by
enriching communication s between police and neighborhoods holds lessons for public agencies across the
U.S. during a period of intense volatility.

A new vision of policing for the NYPD
William Bratton first served as Commissioner of the NYPD under Mayor Rudolph Giuliani between 1994
and 1995. when budgets were tight and City Hall was deeply involved in the daily management of all
departments. After nearly 20 years of economic growth and falling crime in New York City, Comrnr.
Bratton returned to lead the NYPD in January 2014. Newly elected Mayor Bill de Blasio and Commr.
Bratton both emphasized reducing the nurnbcr of stop and frisk encounters- an issue that had become a
flashpoint under the former adrninistration --and improving community relations. Bratton, additionally,
firmly believed that focusing on neighborhood outreach while addressing quality of life issues by dealing
with noise, trash, and disorderly behavior would facilitate better neighborhood/p olice relationships while
giving the public the perception that New York City is a safe place in which to live and work.

In the months after Bratlon's 2014 arrival, policing tactics and the use of force in police encounters in
poor cornrnunitics sparked a nationwide uproar. In Ferguson, MO, Michael Brown's death in August
2014 catalyzed protests. Local police responded to the disorder with force that many viewed as excessive.
Across the nation, citizens and activists perceived a widening gap between pol ice and their communities.
In New York City. these issues came alive following the July 2014 death of Eric Garner, a man who had
been confronted by police for selling loose cigarettes.



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Faced with the paradox of falling actual crime rates accompanying painfully visible tensions between
police and communities, Commr. Bratton focused on changing the culture and mode of operation or the
NYPD itself. and its communication s with the public. His goal was to provide an example for struggling
police departments across the country. In his words, "I think I'd describe myself as a transforrnative
leader. .... One of the things about New York is that you have the biggest soap box in policing." The
importance of this role grew over this tenure: as the New York Times noted. Commr. Bratton·s leadership
''leverage increased after the killing of two officers in December 2014, when Mr. de Blasio relied on hirn
to quell a revolt among rank--and-filc officers directed at the mayor.''

Over his term, using this leverage. Commr. Bratton implemented projects both on the street and onlinc
aimed at encouraging officers to engage with community members. listen to their concerns, and pursue
policing as a partnership between communities and precincts. As he puts it, his aim was to "close the gap
between the public and police. Particularly at this junction where there is so much mistrust.. .. You build
trust through engagement."

Toward that end. the NYPD invested in new approaches to training and recruiting. to attract new
recruits who demonstrated an ability to connect with community members and training them in
constructive community engagement by way of simulations and other advanced educational techniques.
At the precinct level. the Neighborhood Coordinating Officer program in pilot precincts brought a
dedicated team onto the streets to interact with and respond to community members.

Cornrnr. Bratton also attempted to upend the old command-and- control culture by taking some NYPD
communication s onlinc, providing everyone from division chiefs to precinct commanders with the
opportunity to engage directly with the public. In parallel with the NCO program, the NYPD
implemented an online platform, IdcaScalc, that gave community members a channel through which to
submit and prioritize issues for their home precincts. Recently, based on the department's experience with
IdeaScale, the NYPD pivoted to using Facebook as a two-way communication s channel between
communities and police. Across the Department. Commr. Bratton oversaw the widespread adoption of
Twitter, resulting in the launch of over one hundred NYPD accounts within two years and opening up the
force to public engagement on a daily basis. As Cornmr. Bratton puts it: "When I came back into the
department we really saw social media as a way of doing something that I'm very supportive of as a
leader: That's the idea of inclnsion rather than exclusion. The more people sharing information the better."
 101 Precinct commanding officer Deputy Inspector Justin Lenz says, "When it comes to Twitter, it's
phenomenal what we do ... It allows everybody in this neighborhood to have a connection to what really
just happened.''

Along the way, Commr. Bratton delegated accountability and responsibility to NYPD personnel in a way
that is, according to Deputy Inspector Lenz, "Really 180 degrees from the type of management style that
we worked under lbcforc] ." Inspector Lenz continues: "If Commissioner Bratton had come in and looked
at how Commissioner Kelly ran the 14th floor of the Police Department and said. 'Wow, that's awesome,'
and he had just continued doing it, then everybody that was under Kelly would just have continued with
the status quo. He changed. he turned that on its head and basically created a whole new management
philosophy in terms of how decisions are made. I'm making maneuvers in the field. I move cops around
at my personal discretion at my command level as opposed to the borough commander or the chief of
patrol level. This is a big difference."


This culture change will continue under Chief O'Neill. If it is successful at the NYPD, it is expected to
have an effect on the department's success in fighting crime, by helping officers identify and cultivate
neighborhood sources who feel respected by the police and can provide trustworthy information. The
programs primarily aim to foster a more responsive, accountable. and trustworthy police department that
operates in a context of mutual respect. But crimcfighting remains the overall goal. as long as the NYPD
strikes a balance between the roles of "guardian" and "warrior." In Commr. Bratton's words. police
officers must prioritize ·'guardian type policing. interacting and networking, [building] relationships. But
when the time [comes] to go [into] danger, put on the helmet and the vest and become the warrior.''

it's a virtuous cycle: The NYPTYs social media. neighborhood policing, and new recruiting and training
programs aim to increase mutual respect by helping officers understand and enhance their responsibility



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to serve and protect New York City communities- and helping community members sec police officers
as human beings. Stronger community relations may, in turn, support crime prevention. Shifting from a
confrontational to a collaborative approach may encourage community members to come forward when
they learn about crime.

Questions remain regarding the outcomes of these programs: whether or not citizens notice these changes,
if they have an effect on New Yorkers' perception of the police or officers' perceptions of their
communities. and if these attempted cultural shifts can gain enough traction to survive beyond the de
Blasio administration.

Before exploring details of the Twitter, IdeaScalc, and Facebook programs. the following section sketches
key elements of the context within which those programs were launched: the Neighborhood Coordinating
Officer pilot program and revised training regimes.

IL Culture change through organizational change: Neighborhood
Coordinating Officers and a new approach to training

Neighborhood Coordination Officers: Changing street-level policing
The Neighborhood Coordinating Officer (NCO) program, currently being piloted in about a third of NYC
precincts with plans to reach more than half of precincts by October 2016. assigns officers to spend 20
percent of their time ·'off radio'': instead of driving around entire precincts responding to 911 calls. they
arc expected to stick to an assigned sector and engage informally with citizens.

This constitutes a major change for the NYPD. As Chief of Special Operations Harry Wedin puts it, under
past administrations . the "community relations" function focused on going "into locations in the precinct
that had chronic problems and preventing them." with feedback given to the community through
community meetings. These community meetings, however, arc attended by a sharply limited number of
people. Community engagement did occur. but, as one senior officer explains, there had "never been any
strategy behind it.'' Such efforts appeared disingenuous to community members, who read sporadic
outreach as attempts to ·'appease the community'' in ways that were "disrespectful." With the launch of
the NCO program in May '.W 15 in four pilot precincts (supported by the hiring of 1300 new officers). the
NYPD attempted to forge a more authentic. sustained collaboration with the public, allowing community
members to "help [officers I make their neighborhoods safe and whole.''

The first step towards facilitating meaningful, consistent engagement was to create neighborhood portions
of precincts- ''scctors"--that aligned with residents' understandings of their own communities. Prior to
the launch of the NCO program, each precinct had about 14 small sectors and officers were assigned to
patrol one or more (different) sectors within their precinct. But these sectors were drawn mechanically
and had no relationship to the lived experience of the neighborhood, so officers· assignments had them
interacting sporadically with many residents precinct-wide rather than interacting consistently with fewer
people. In 2015, precincts were re-divided into between three and five sectors drawn along neighborhood
boundaries. Another change: Within each of these new neighborhood sectors, Captain Timothy Malin
explained, two NCOs were assigned to "learn that area and take ownership of it.''

By redrawing sector boundaries and assigning dedicated neighborhood officers, the program created. for
the first time, a true "geographic responsibility" for officers. Within these neighborhoods. officers arc
expected to engage not only in crime response but also in more informal discussions and actions in
response to citizens' concerns. As Sergeant Paul Grattan of the Transit Bureau explained, when officers
are off of the radio, they are not absorbed in responding to 9 I l calls and can instead "follow up on
complaints ... address people· s concerns. a lot of times more minor. sometimes not even criminal in
nature ... [andJ delve a little hit further into their problem.''

Beyond these daily interactions, NCOs arc expected to develop formal connections with residents by
parlicipating in community institutions and building new networks of collaboration. NCOs arc required to




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attend community meeting and form working groups to involve citizens who might not regularly attend
public meetings-- particularly young men ages 18 to 34.

Through these intentional forms of public engagement , officers become familiar both with and to their
constituents, and form a deeper understandin g of community concerns. Whether or not this strategy will
result in more effective crime prevention remains to be seen. Again, however, the NCO program is not
aimed directly at reducing crime: it is focused on building trust in communitie s at a time when
antagonism between NYPD and its constituents appears Lo be high. Through engagement with NCOs. the
NYPD hopes that communities will learn to see the human side of the force. As Chief Wedin explained,
"the more the public intcrads with police officers the more they're going to realize that they're not like
everything you sec on TV that's crazy all the time."

Training and recruitment: Finding and keeping the right officers
As with any large organization . change at the NYPD did not occur immediately on the orders of Commr.
Bratton. Any shift in NYPD culture towards more accountabili ty, transparency , and engagement \Viii
require extensive training and retraining. ln 2015 and 2016, the NYPD undertook a multidimens ional
project, retraining 20,000 officers in less than a year and redefining the curriculum for new recruit
training and in-service training going forward. The goal of these new training initiatives was Lo help
officers become more responsive and accessible to their constituents , and more collaborative and
supportive within the dcpurtment. In other words: to foster mutual trust.

Training for a more responsive NYPD

Under the leadership of then-Deputy Commission er Michael Julian (brought in by Bratton in late 2014),
the NYPD began transforming its training for new recruits as well as officers already on the job. With his
colleagues, Julian developed a three-day course, the 20k Training Initiative, that included a one-day
seminar called Smart Policing. The 20k Training Initiative was rolled out over about a year. during which
more than 22.000 officers from Patrol, Housing, and Transit Bureaus attended the program in groups of
roughly one hundred. The program. as described in an internal report, explicitly aimed to improve
relations with community members, with a focus on "courtesy. professional ism. respect. and a service
oriented mindset." especially in situations of confrontatio n. The Smart Policing portion of the training, in
particular, was aimed at helping officers understand that the civilians with whom they interact want to be
acknowledge d as human beings. With the aim of fostering a more engaged police force with increased
sensitivity to community relations. the training program had a new emphasis on collaboration instead of
confrontatio n and prepared officers to manage the stress of police work's real-world challenges.

According to Julian, past training programs focused on fostering camaraderie among officers. In part, this
camaraderie was formed through a sense of common antagonism towards potential criminals and
participation in a shared experience of hard-boiled hazing by instructors. This gave new officers a sense
of community within the force, but did not prepare them to deal with the comrmmity outside. As Julian
explained, the old program for ''training [was] all about feeling good ... but it [didn't! change behavior. It
doesn't change what officers do in the streets." The new program was focused on producing long-lasting
behavioral changes with the aim of fostering responsive. respectful relations with the communities . As
Julian pul it, '·getting cops to fight crime is easy. How can we get a cop to respect people?"

Julian and his colleagues had instructors focus on training officers in improving their daily interactions.
teaching through direct instruction and by way of behavioral modeling. The new training regimen offered
instruction in the principles and practice of constructive community interactions. And instructors were
told to treat recruits well as a way of modeling clcsirccl behavior. The philosophy, Julian explained, is to
·'treat them like gold so they in turn treat other people like gold":

        When lofficers] go to the academy, we yell at them, so that teaches [trainees] how to be a cop ....
        They say. 'Well, people yell at you on the street. if you can take it here. you can take it on the
        street.' Not true at all. All you're doing is telling people to yell at people, that's what you're
        teaching.




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The Smart Policing training focused on modeling, teaching, and rewarding respectful forms of
engagement. But even with excellent training, officers will face extreme circumstances in the field that
can trigger confrontational reactions. A second dimension of training was therefore focused on
''techniques to control adrenaline and anger" so that officers could access these skills even under duress.
The program emphasized the need for officers to recognize and acknowledge the daily stress of their
work. Among other things, recruits were instructed in the use of deep breathing as a mechanism for
control ling biological responses to stress.

The program involved two days in a classroom, covering Foundations of Policing and Smart Policing in
turn. Officers talked about everything from communication skills to the importance of breathing and how
to manage their personal stress in the context of a demanding job. The third day of the program took place
in the gym, where officers were retrained in the physical maneuvers that they need in the field, from
chokeholcls (the Garner death was a partial impetus for the initiative) to take-downs and handcuffing.

Comrnr. Bratton believed that fostering a police force that is capable of positive relations with the public
begins, in part, with ensuring that the organization has a healthy culture internally. To that encl, the
training program. according to administrators. focused on "internal procedural justice, how we were
treated on the job, [and how I that affects how we feel now.''

These skills were further put to the test by simulation exercises in the NYPD's sophisticated new Police
Academy in College Point, Queens. The center is home to classrooms and gyms for recruits' physical
fitness training, but also to a number of realistic simulations of various real-world settings. There is a real
police car, where trainees practice how they might engage from within a vehicle. Rooms designed to look
like apartments arc used for exercises in which trainees respond to a simulated 911 call, with situations
ranging from domestic violence to gun running. A model precinct. equipped \Vith jail cells. is used to
teach officers about booking arrestees and potential problems that may come up inside stations. There is
even a courtroom, where trainees arc schooled in what to expect if they arc ever summoned to testify.

All of these new aspects of training arc meant to educate future officers in how to thoughtfully respond to
stressful work in the field. Not that the trainers assumed recruits were starting from zero: Beyond
cultivating a more responsive workforce. the architects of this new training program were also aware of
the strengths that these trainees brought from their own experience. As one training officer put it:

        Now, I think, we're recognizing that everyone has unique experiences. training. histories. to bring
        to this job. and we're going to use that to the best of their ability. We want them to use their tools.
        and we want to give them additional tools on top of that. And if they have something unique, we
        want to share it with everyone.

All or this was designed to coincide with a new approach to recruiting aimed at bringing in officers who
had the disposition to work productively in New York City's many diverse communities.

Training starts with recruiting

Training begins before hiring. Although NYPIYs training focuses on fostering officers' ability to control
their emotions under stress and maintain a respectful attitude, these abilities come more naturally to some
than others.

Creating a responsive NYPD began, in part, with attracting people who can and want to embody these
principles. As Julian explains. training is thus partly about turning down some applicants.

         [Training is also about] saying to people who can't control their emotion, people who don't like
         people, who can't communicate, all of those things we're teaching. [that] they shouldn't become
         police officers ... If you get a thrill out of exercising power over people. don't become a police
         officer. If you get a thrill out of helping people, please join us.

Training is critical, Julian explained, but in some cases it is not enough. To ensure that the NYPD moves
towards a more responsive and engaged culture, ''you've got to change who comes on the job" in the first
place. Crawford was shown an early draft of an ad for new recruits whose text instructed readers not to



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                                                                                                     he saw
join the NYPD if they "have to be right all the time." Julian made these recommen dations because
recruiting and  training as opportunit ies to transform the culture of the NYPD and foster mutual respect.
Not all of his recommen dations have been implement ed.

As Turnin put it, the NYPD had historically ''treated [recruits! with a kind of bureaucrat ic hostility."
Inexplicable delays in hiring, overloaded recruiters. and unresponsi ve training had been routine for
decades. The Bratton regime hoped to change that culture. Commr. Bratton explained in 2015:
                                                                                                                      with
        A lot of what we were looking ror [in recruits I in the 80s and the early 90s was cops used to dealing
        what had become almost open warfare in American slreels. W c thought we were losing I these battles.]
                                                                                                                      You
        Now that crime has been reduced by such significant amounts. we can look for more of the balance.
                                                           that is left, and  in some cities that has spiked up   these past
        still need the warrior lo help deal with the crime
        few months. The balance that we arc lalkinl'. about in rccruitine is that balance bct,vccn
                                                                                                       the \Varl'ior and the
        guardian.                                     -·                   -·

Training continues throughou t officers' careers

Not only does training begin with recruiting, it continues throughou t the career of an officer. Julian
                                                                                                         fails
emphasize d that training is not a one-time investmen t. lt requires ongoing reinforcem ent: ·Training
                       it." A  senior officer echoed the sentiment when  he explained that "training  is
if you don't reinforce
something that you always have to do, because ... every clay is different. Every time, it changes.''
                                                                                                      n that all
Retraining is thus a critical dimension of the NYPD's cultural transforma tion, with the expectatio
officers regularly return  for refresher courses.

From the perspectiv e of program administra tors, the 20k Training Initiative aimed to help officers
                                                                                                     As
reconnect with the altruistic goals that had brought many of them to police work in the first place.
Lieutenant Bobbylorn Shepherd explained:

         It's really just remember ing how to treat people they way you want to be treated ... How you
         would want your family to be treated. if they had to interact with any law enforceme nt. .. When
         they came on the job wc asked the question 'Why did you become a police officer?' Most people
         arc not going to say 'To write as many summonse s as l can,' or 'make as many arrests as l can.'
         They're going to say: 'To help people, to make a difference' ... You're trying to get people back to
         that place ... and make them feel that way again. They'll remember why they're here.
                                                                                                           training
With the understand ing that internal frustration s can spill out into interaction s with the public, the
                    context in which   officers could  share  their frustration s and develop strategics  for
sessions provided a
improving internal dynamics.
                                                                                                               with
In the past, officers had been trained in groups defined by rank. They arc now put in a training group
                                                                              The reasoning behind  this   is that
their teams, from lieutenants up to executive and commandi ng officers.
                                                                                                      and
teams should learn how to work together. Instead of learning abstract concepts about teamwork
                   had the opportunit y to talk about  concrete issues that they had experience d together     and
support. officers
                                                                          group.  As one sergeant put  it:
develop strategics that could realisticall y be irnplcrnentecl within the

         l like the whole concept of training with the people you work with because ... the people cause
         dynamics too on this job. [Assigning people in the classroom to partner for the purposes of an
         exercise, like] "Hey. The two of you, you're partners. You're going to go do that." That's not how
                                                                                                             to
         a partnership works. that's not how it works out on the street. [In real police work,] people react
         each other.
                                                                                                           reflects
 The officers in charge of the new training program arc also focused on making sure that training
                                                             participant s has  helped the team  revise  and  refine
 officers' input. A survey distributed to all 20k Initiative
                          training more  effective and  replace exercises   that did not achieve  their goals.  As
 the curriculum to make
                                                                                                          there's
 Lieutenant Shepherd explained: ''We want your opinion. That's one of the things we stressed. If
                                                                                                          us why.
 something in this training you agree with strongly. or disagree with strongly, please tell us. Tell
 Tell us constructiv ely what  we can do.''




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The program administrators also say they are learning from informal feedback. In one case, officers who
worked the night shift reported the daytime training caused significant problems, ranging from childcare
dilemmas to disrupted sleep schedules. For the first time, the NYPD began offering training for its
overnight teams during the night shift.

Finally, training focuses on connecting officers to their own health and wellbeing. Training administrators
know that job-related stress can result in an imnicdiate lapse of judgment in a difficult situation, but it can
also cause long-term physical and psychological problems. The new training program thus encourages
officers to provide each other with social support and trains them in suicide prevention and other
emotional support tactics.



Apprenticeship as part t~f' the model

There arc some lessons that can only be learned in the streets. In the past, new recruits were paired with
any available officer, with little regard for the depth of experience of the partner, or for whether the senior
officer had a disposition that lent itself to on-the-job training. Over the past 18 months, the NYPD has
implemented a new program in which trainees arc paired with an experienced officer for two months of
apprenticeship in the field.

[n the revamped apprenticeship, recruits learn to apply their training and develop the kind of tacit
knowledge that will allow them to be effective on their beat. As one lieutenant said:

        Aside from anything else, they need to sec it in action on patrol. Sec living, breathing examples of
        someone out there saying "Hey, this is a teachable moment: X-Y-Z happened; this is why I did
        things this way; this is how it works ... Hey, I could have written this person a summons, I could
        have clone that, but l decided to do it this way because of X-Y-Z."

Officers who provide this training also find it rewarding to share their knowledge with new recruits and
help them to learn tools for engaging productively with the public.

UL Culture Change Through Technology: Trying Twitter, IdeaScale, and
Facebook
Comrnr. Bratton's groundbreaking use of Twitter was aimed at decentralizing police communication s with
the public and providing a readily accessible mode of interaction. Recognizing the importance as part of
the NCO program of generating a specific set of agenda items for police action, the NYPD implcrncntecl
the IdcaScalc platform in six pilot precincts beginning in April 2015. As of August 2016, the NYPD was
continuing to modify its social network approach and had begun adopting precinct-level Facebook pages
for improved two-way communication s.

Adopting social media ji·om the top down
Three weeks after Bill De Blasio was sworn in as mayor and Bratton had returned to New York City for
his second term as commissioner, on January 23, 2014, Cornmr. Bratton sent his first tweet from his own
personal account. He had just finished addressing his staff at a CompStat meeting, and wrote "Enjoyed
addressing command staff at #Compstat this am. We invented it in '94, glad to sec how Car it bas come."
A picture of Bratton at the podium accompanied this personal message.

(Bratton was proud of CompStat. a process he had launched years before with his friend and colleague
Jack Maple whereby police leaders focus on spikes in crimes using statistics and take on those spikes
through the reallocation of resources. CompStat relies on up-to-the-minu te data, visualization, rapid
responses, and continual follow-up.)

Inside the NYPD, the first Bratton tweet had a significant impact. As one administrator explained, that
first tweet was "very important, very unique to this department that you sec something that's not a press



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release coming out of the NYPD, that's a personal voice and has a photo attached ... you can relate."
Inspector Thomas Conforti of the 109 Precinct in Queens rec al led that, with the Bratton tweet. '' Social
media started blossoming, started its beginnings in the NYPD." A sergeant within the Citizen Relations
office told us, ''When Bratton came on, [Twitter use] went from Oto 60 in two seconds flat.''

Before Bratton's arrival, the Deputy Commissioner for Public Information (DCP[) was responsible for
finalizing and releasing all public-facing communication s. Messages were vetted and approved by the
leadership. Rank and file officers were expected to engage in face-to-face communication in the streets,
but were not empowered to address a wider audience directly. NYPD's pre-Bratton adoption of Twitter
had followed the command-and- control model: the original Twitter account, (a)NYPDNcws, was an
official public information voice managed by the DCPT.

ln the past, indeed, police were expected to reft'ain from sharing information with the public. As Sergeant
Grattan explained, ''we were all born and raised to be rather tight-lipped when it came to distributing
public information:' Instead of communicating directly to constituents, officers were expected to
"channel things through the public information officers,'' the single entity authorized to approve
statements and speak on behalf of the department. (This kind of control extended broadly across the
NYPD. One precinct commander told us that under Commr. Kelly every single transfer of an officer from
one precinct to another had to be signed off on by the Commissioner himself. Commr. Bratton, he said,
was astonished that these issues were being dealt with at the Commissioner level when he arrived. The
precinct commander said that things had changed under Bratton: "I have the overall accountability for
everything we do here [in my precinct], good or bad.")

For years, the Deputy Commissioner of Public Information was the sole voice of the NYPD. A senior
officer explained that "al I communication from the NYPD carnc out of DCPI, and that was it. .. lt wasn't
just under Kelly: it was under Kelly, it was under Kcrik. it was under Bratton [in his first term J ... lt was
just a culture of the agency.'' There was particular concern regarding journalists: before Bratton, officers
"wouldn't talk to the press ... [The pressJ have their own offices on the second floor and we know who
they arc. When you're in the elevator, you don't talk.''

As Deputy Inspector Thomas Conforti put it. ''Twitter made it possible for us Lo push out information
which was specific and real-time, directly to the public. And, more importantly, to reporters, without
having to obtain prior authorization." [twas a radical transformation for a traditionally top-down
organization-o ne that was unimaginable before Bratton's tenure. As one NYPD chief explained:

        Under the previous administration, [social media was] not a plausible concept. There was not
        going to be any social media interaction from the rank and file side ... [L !wasJ a paramilitary
        organization and there [was] one voice box and that's it.

Another chief put it succinetly when he said: ''Commissioner Kelly was a great man, but he spoke, and
now all of la] sudden all are speaking." Prior to Commissioner Bratton's tenure. at least one officer had
tried to tweet individually and had quickly been shut down by the department.

Bratton himself had learned about Twitter during a session led by Tu min that Bratton had attended in
2011 at Harvard's Kennedy School of Government. It took a while for the idea to reach him fully. When
Bratton was still at the Li\PD, he heard Boston Police Commissioner Ed Davis say that his department
was going to start using Twitter. Bratton: "I was the chief of police in LA and I didn't quite get it because
1 didn't look enough under the hood to understand - what's this thing - a hundred and forty characters."
His attitude changed after April 2013: "The wake-up call for me was during the Boston Marathon
bombing. There was a Eureka moment. Davis was able to trump the national and international media -
who were getting so many facts wrong because of this new world of social media. American policing
showed it could get around the media and reach the public directly .... We now don't have to be limited
by the news cycle." The Boston bombing was a watershed moment for Bratton.

Over the course of the next two years, Bratton's NYPD staff drove Twitter engagement from the Chief
level down to precinct commanders. Within three months, five precinct-level Twitter accounts had been
launched, and by the end of 2014, all 77 NYPD commands and 9 housing bureaus were actively
communicating with the public via Twitter. Heads of units for Transit, Special Operations, Missing



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Persons. Special Victims Unit, and others soon followed-as did the Chief of Department. Chief of
Detectives, Chief of Community Relations, and numerous other senior NYPD commands.

Engagement remained primarily one-way, however; few Twitter NYPD accounts were used for more than
broadcasts of event announcements and other PR efforts. Nonetheless.ju st as the NCO program allowed
police to engage with the public in the street. NYPD's adoption of Twitter vastly expanded the frequency
and quality of the Department's public communication s, allowing senior officers and precinct
commanders to share information directly with the public and respond (occasionally, at least) to on line
constituents.

This change was not necessarily easy for Commr. Bratton's NYPD colleagues. Some had the sense that
they were being pushed into a new world prematurely. One Chief told us, "I remember, personally.
[before Bratton came in] I was so against tweeting. I'm telling you the truth. I thought it was a teenage
thing to do." Another Chief said, "It was really out of Lthc range of! what we're used to. Really. out of
something we weren't familiar with. We weren't in control, per sc, and we're in control people. It was
uncomfortable. '' But, as a senior officer explained, they quickly learned to adjust: "You jump into the
pool. .. the water's cold. After a couple of seconds, ifs the same cold water, but you ·re warm now.''

As Bratton moved to open up lines of communication between the public and the NYPD at all levels,
many officers were initially skeptical and concerned about the problems that might misc. Fundamentally,
it was ''against the culture of what we had been used to," a senior officer explained: ''we came up as
babies in this'' tight-lipped culture. Y cars of training and discipline had taught officers to keep their
mouths shut when it came to the public.

Moreover, social media seemed to offer innumerable opportunities for mistakes. Police were especially
worried about how a small issue could balloon once it hit the public sphere. They worried that "any
mistake that you made was going to be accentuated by the public. by the naysayers, by people looking to
make their own political agendas." Officers were wary of the many mistakes they might stumble into,
from the accidental communication of private information about victims or suspects, to broad public-
relations mishaps. Moreover, there was a sense that the public and the media. in particular, were alert to
any opportunity to criticize the police. As one officer put it: ''there's no shortage of people just looking
for ... anything that can be misconstrued."

Officers throughout the NYPD reacted in varying ways to the command to now engage, openly and
publicly, onlinc. Some were proactive. Deputy [nspcctor Conforti of the I 09th Precinct stastcd to
experiment with Faccbook as a tool for community outreach. His enthusiasm for new media and fluency
onlinc led to his selection as part or the initial pilot group of five Twitter accounts. He eagerly embraced
Twitter, learning to communicate with community members in innovative ways across platforms. Other
officers reacted quickly by studying up on social media. As Sergeant Grattan described: ''Mc personally, [
saw the writing on the wall immediately and undertook a personal effort to brush up on social media ... I
knew that this was coming our way ...

Others were less eager to embrace the new openness. Whether out of a concern for protecting the police
from unnecessary criticism or from a gcncrnl wariness about the world of social media. these officers
required an extra push. One NYPD chief described a feeling of resentment towards the new imperative to
engage onlinc:

        I said, 'l don't want to tweet.' First of all. I'm not on Faccbook because l feel like a public figure.
        I don't need to be involved. I'm not out there. I don't want to be out there. This was the last thing
        I'd want to do.

For these holdouts, the leadership adopted a dual approach, employing both persuasion and imperative.
The first approach was to explain to officers that social media was a ''tool'' to help officers in their work,
arguing that ·'This is your voice ... Land it] will help you achieve your goals.'' For those that still could not
sec social media as an asset, the leadership made it clear that social media engagement was not an option,
but an expectation. As one chief explained, what: brought her onlinc was "being told that we're doing it;
feeling like there was no choice.'' Another overcame his reluctance when he realized that there was ''no
point in resisting"; he decided, ''Let's go with it and sec where it takes us.''



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For both the reluctant and the enthusiastic adopters. it took time to gain fluency. Early on. tweets were
vetted by multiple managers and staff members to ensure that they were appropriate. unambiguous, and
likely to resonate with audiences. In a matter of months. however, most of NYPD's on line accounts were
active and engaging with community members almost daily.

Key to the transition was the immediate feedback that officers could see onlinc. While there was initially
··some selling to do'' to bring officers on board, they soon saw the value of social media use in the press
and in their communities. One administrator explained that seeing their voices reflected in the news was
powerful, and reverberated in their street-level interactions:

        On average about once a week we have something from our Twitter account hit the local or city-
        wide or even national press. So they'll see those positive reinforcements .... people will come up
        to them on the street and say, ''You know I follow you on Twitter.'' So they kind of sec [that] this
        is actually working ... Very quickly you kind of tic it into real life.

Chief Wedin, initially resistant, found that the Twitter interface was ''not bad at all," but was really won
over by the feedback he saw on line: "We started seeing positive stuff come back right away.''

The adoption of social media has had remarkable internal ancl external effects on perceptions of the
department ancl its leadership. For one, Cornmr. Bratton's ability to embrace social media provided him
with a public audience or social media users who may have felt that ·'he's with the times.'' Internally,
Commissioner Bratton·s decision both to use social media and to diffuse it throughout the NYPD-
without blame for screw-ups, as described below-has fostered the sense that he's "very accessible to
people," while simultaneously signaling his trust in those who work for him. And individual tweets by
precinct commanders and Chiefs could be used to honor and recognize subordinates. People following
those accounts could get the sense that they'd been noticed and understood.

As Lieutenant Christopher Zimmerman of the Missing Persons Squad told us, Bratton's use of Twitter
created ''an open line of communication '' between the NYPD and the public that had never before existed.

Chronology: Implementi ng Twitter
Following Commr. Bratton's initial tweet, Deputy Commissioner Zach Tumin and then-Chief of
Department Philip Banks decided to test the expansion of social rnedia with five pilot accounts.

In March of 2014, Chief Banks chose the five pilot precincts. using a range of reasons: some precincts
were selected because their commanders were already good communicators , actively seeking innovative
ways to connect with the public; others were selected because they were more reserved and Banks saw an
opportunity to use Twitter to draw them out. These first five commanders were given extensive training
with guidance and support from leadership. Chief Banks explained the relevance of Twitter to NYPD's
priorities under Commr. Bratton and insisted that the pilot commanders invest time in learning about and
using the tool.

Commr. Bratton was also directly involved. appearing at the initial training session to make it clear that
social media use was a priority. As one of the pilot commanders recounted, Bratton '·called us down, all
five ofus, and [saidJ ·1 want you to try this. I want you to put your own spin on it."' Commr. Bratton's
direct command was especially encouraging: he wanted commanders to find their voice and experiment,
with the confidence that their superiors would support them.

That confidence was soon tested. On April 22, 2014. the Ca.>NYPDNews tweeted a request: ··Do you have
a photo w/ a member of the NYPD? Tweet us & tag it #rnyNYPD.'' As Tumin remembered it, "There was
a lot of optimism by the few folks who had championed [TwittcrJ ... that now was the time for social
media, we can now beckon the citizens of New York and the world to join us in this new day." By
midnight the same day, according to the New Yurk Post, "more than 70,000 people had posted comments
on Twitter decrying police brutality, slamming the NYPD for the social media disaster and recalling the
names of people shot to death by police." The NYPD personnel involved held their collective breath.
Would someone be fired for this?



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Tumin called Commr. Bratton's reaction to the flmyNYPD fiasco a ·'bellweth er" for the departmen

        There was an expectatio n I think certainly by the news organizati ons in
        New York that there would be some swift and certain kick in the butt
        punishmen t for this one .... LBrattonJ spoke to the issue. In one of those
        [press] gaggles [afterward s], Bratton took out his own smartphon e and
        turned it on the gaggle of reporters with a camera towards them and said,
        "Smile!," and he took a picture. We posted it up.
                                                                                                        learning
Comrnr. Bratton also remarked -in a public but nonchalan t tonc--that the NYPD was on a steep
curve. Commr. Bratton clearly understood that,   in  Tumin's   words.   it: was "importan t to send a message
                                                                                                       between
that we acknowled ged our past and can't hide it," while acknowled ging the present lack of trust
                                                                                                           was
community and police. At the ,;amc time, by snapping that picture, he demonstra ted that the NYPD
                                              be  a crucial  part of its  future. The news   cycle moved  on. No
moving forward and that social media would
one \Vas fired or reprimand ed. "We were good   lo  go and  so we  kept    going." says Turnin.

Over the first ten months of 2014, the remaining 72 precinct commands and nine New York housing
bureaus were trained in use of Twitter. with 15 to 20 new accounts activated about every two months.
Accounts were set up ahead of time by social media coordinato rs. and commande rs activated their
accounts and were trained during five foll-day training sessions.
                                                                                                       hands-
'T'hc training sessions, discussed below, consisted of lectures on best practices. legal concerns, and
                                 the computer  lab. These sessions were open  to all commandi  ng officers  and
on experience with Twitter in
 any members of their staff who they believed could support the use of Twitter as part of precinct
                                                                                                         it was
operations . While precinct leaders would be responsibl e for overseeing their social media accounts,
                                  use of Twitter would require daily engageme  nt and  might benefit from   the
 understood that the successful
                                                                                                      staff
 support of several staff members. (Beginning in midsumme r 2016, NYPD ensured that dedicated
 would be responsibl e for monitoring each precinct's social media menu.)
                                                                                                       to
In addition to precinct commande rs, leaders of the NYPIYs specialized unils started using Twitter
                                                 Operation s, Transit, Transporta tion, Detectives , and
reach their respective audiences. NYPD Special
many other divisions now use Twitter to share informatio n about their work. in some cases developing
distinctive personaliti es.
                                                                                                     the
The NYPD leadership gave these units extensive leeway to collaborat e with one another in defining
                                                                  of Transit explained.  Commissi oner
form and style of their communic ations. As Sergeant Paul Grattan
Turnin was "very open to our input about how [the Transit Bureau's use of Twitter] should be
                                                                                                 related
approache d. We sat down with Chief Fox lof Transit], and we discussed options for social media
to Transit. .. We decided we would take two approache s. We would  establish  a Transit Bureau account
                                                                                                 L train
and we would establish a pilot subway line-based Twitter account." Today, the Transit Bureau's
handle has   more than 3,000 followers.
                                                                                                        was
 Key to the success of implement ation was a clear message from the leadership that participati on
             for all precincts and chief,. As Chief of Detectives Robert  Boyce said, he was  told:  '''We   want
 mandatory
                                                                   ... He [Cornmr. Bratton]  says   clo it, you
 you to start tweeting on Twitter. Go open Twitter.' I'm a soldier
 do it. no questions. ''
                                                                                                                From
 NYPD users felt that the leadership would stand by them a,; they took new risks on social media.
                                    pilot Twitter  users were   told that mistakes   would   be made,  and the  NYPD
 the start, the first five precinct
                                                                                                                   '·He
 was prepared. As one officer explained, during initial training, Commissi oner Bratton was explicit:
                                                          make   mistakes.   we'll deal  with  those mistakes  ... it's
 [said] that, 'I expect you to make mistakes. If you
                            Inspector  Conforti  recalled. As  more   officers  were  brought   onto Twitter. the   same
 the learning process.'''
                                                                                    at least one  example  of a
 message was communic ated: "By the time I attended training, there was
                                                                                                                 as to
 screwup. [the #myNYPD fiasco!. [Commiss ioner Tuminl highlighte d that scre\vup in such a way
                             room understand   it was  going  to happen,   that it was  going  to continue to happen,
 make everybody in the
 and that. .. they would back you up,'' Sergeant Grattan recalled.




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Smaller scale mishaps have occurred as well. /\s Yael Bar-Tur. NYPD's Digirnl Strategist, explained:

        We had a little fumble with one of our precincts and we ... said to everyone ... 'Look. this
        happened. No one is getting fired ... We're going to do damage control [and] we're going to move
        forward,' and I think that set an example ... [Officers felt that] this ground is maybe a little less
        dangerous because you know you have the support of I PP [headquarters].

This firm commitment to supporting officers during their early trials and possible crrors---onlinc have
given chiefs and their officers "a lot of confidence." Chief Wedin explained. facilitating the rapid
expansion of NYPD's on line presence.

The public began to engage with the NYPD through Twitter immediately. The first time one precinct
logged into its account. the staff saw that constituents were already mentioning their precinct in messages.

        When we logged on ... we saw the mentions, even though [we l hadn't tweeted anything [yet].
        Everyone was tweeting about. .. a dumpster in a bike lane outside of the precinct. Maybe l 0
        people saying, 'Yeah [Precinct] 88 what's happening? You have a dumpster outside.' Their very
        first tweet was [that] they were going to change the dumpster. They took a photo and said: 'You
        tweeted, \.ve'vc listened.'

This kind of engagement from constituents encouraged participating officers to believe Twitter could
have immediate, valuable effects.

In less than two years. the department established 111 Twitter accounts that collectively reach almost
750,000 followers. Within the department. officers have become fluent in this new technology and have
developed creative ways to broadcast time-sensitive information and engage with their communities. As
one official explained: "The cultural shift has been very quick ... It's only been a year and I think we're at
the point ;;here a lot of commanding officers are increasingly more comfortable with having their voice
out there.

Training for Twitter
Significant resources were dedicated to training officers to use T,vitter. Training was open to all 77
precinct commanding officers (as well as chiefs of departments) and staff of their choosing. These
participants attended full-day training sessions that included lectures. hands-on practice with their
accounts in the computer lab, and conversations with officers who had more experience with social
media. Most of the precinct accounts were on-boarded in groups of 15 to 20 over the course of 2014.

The administrators from Tumin's unit who designed the social media program provided an overall
introduction to Twitter. The introduction helped familiarize officers with the general premise of social
media and common best practices. Officers learned how to attach images and tag individuals in their
tweets, and were encouraged to use these tools in order to expand their following. Instructors encouraged
the officers to be humorous as well. Sergeant Grattan of the Transit Bureau explained that ''they were
encouraging some good-natured humor ... to really humanize the police.''

After the general overview, specialists from the NYPD's information technology, legal, and public
information divisions gave lectures on issues of concern in their areas. Communicating onlinc comes with
a number of privacy. data security, and public relations dangers. and officers learned about departmental
expectations in each of these areas. Officers then sat down at a computer and were introduced to their
own Twitter accounts. which had been set up in advance. They were guided through the interface and had
their questions answered as they explored the platform.

,Staff continue to offer training and support on a case-by-case basis. In some instances, these specialists
sat with officers to show them how Twitter could help them reach their own goals for their division or
precinct. Throughout. the staff emphasized that Twitter was part of policing operations. and should be
seen as a new tool for helping precincts reach their own goals. As one administrator explained, the
message was:



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        This is not an extra thing you need to do. This is not more work. Whatever problem you have in
        the precinct, whatever issue you have-you have unattended property and people arc getting their
        cellphones snatched, you have not enough people showing up to your community council
        meetings, whatever issue you have that concerns the community... this is a way for you to kind
        of disseminate the relevant information.

Many officers reacted to these training sessions with surprise and a bit of fear. Accustomed to the old
culture of command-and- control, the vision of this new world of engagement was "overwhelming at
first:' As one officer explained. ·'the room [was] full of people who are apprehensive about being as
public." Officers grappled with how to master a new skill and learn to "think in terms of Twitter."

Over the course of the training, however, most officers felt that they made enormous progress. In one
representative story. Chief Harry Wedin of Special Operations told us: "The day of training was very
informative, it was really concise and clear what we had to do, what we should do, what we should try
and stay away from."


IV. Expanding Engagement through IdeaScale
As the use of Twitter took off throughout the department, Deputy Commissioner of Strategic Initiatives
Zach Tumin was thinking ahead to the next phase of the NYPD's social media revolution. If the NYPD
wanted to understand what was most important in terms of "quality of life" issues to a particular
community, it would need a program that could facilitate citizens' direct engagement with the NCO
teams, identifying individual users and giving them a voice in community issues while also maintaining
citizens' anonymity.

Tumin decided that an ideation platform called IdcaScalc would help the department test this form of
engagement. The big idea behind ldeaScale had profound connections with the NCO program. As with
the impetus for NCO. the ideation platform goal was to move away from an exclusive focus on reactive
crime fighting and towards proactive engagement with communities around issues of concern to them that
might or might not relate directly to criminal activity. Given these compatibilities , the NYPD decided to
deploy IdeaScale in conjunction with the NCO program in five pilot precincts.

The idea was that community members would use the platform to tell a precinct commander about issues
that the police needed to (and had authority to) resolve- a persistent parking problem, a safety issue, a
noise complaint----and other community members would decide whether to prioritize those issues by
voting them up. It would be the responsibility of the NCO sergeant. with the commander's backing, to
resolve these issues and report back to the community via ldeaScale and Twitter. This kind of system had
proved itself. \Vith ideation platforms being used successfully in many government contexts for internal
resource allocation.

On IdcaScalc, individual users registered but their identities could be kept anonymous even from the
police department, with the exception of the email address provided. Registration was by permission and
limited to those who self-reported living in a zip code within the precinct. Deployed at the precinct level,
IdcaScalc could give officers a sense of which issues were persistently affecting the community.

The TclcaScale program was implemented in six pilot precincts. It was modestly successful in some of
them, and less so in others. J\s Capt. Timothy Malin explains, the NYPD learned a great deal from this
pilot. But IdcaScalc's limited customization. somewhat unsatisfactory interface. and lack of name
recognition or reach made wholescalc reliance on this platform by the NYPD inappropriate. Not enough
community members were on the platform to make it truly useful. Now. as of Aug. 2016. the department
is beginning to evaluate use of Facebook for many of the same functions IdeaScale supported, integrating
lessons learned from the initial platform pilots. As Malin puts it, "You have to go where the users arc."




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Chronology
ldeaScalc launched in April of 2015. with a pilot in Precinct 109-a precinct that was among the first to
adopt Twitter. Within months. the program was expanded as part of the NCO program and in the five
NCO pilot precincts: 33, 100, 101, 32, and 113 Precincts.

The NCO precincts had been given additional officers to run the new neighborhood programs, so
resources were available to learn and operate the new platform. More substantively, NCOs were
responsible for interacting with community working groups----ongoing engagement with particular
communities of interest within the neighborhood-and IdcaScalc could be an online equivalent: a
community working group in the digital sphere. In these six precincts, officers were trained in the use of
IdeaScalc and issued a training manual.

IdeaScale was advertised to community members through email lists of partners like precinct community
councils and city councilors, paper flyers, and small posters. The goal was to promote use of the platform
for quality of life issues. asking--as one flyer put it-- ·'What disorderly conditions in your neighborhood
trouble you the most that if addressed would help improve the quality of life here?" The department
espoused the benefits of the platform, relative to broader sites like Facebook, in terms of case of use and
the capacity to confine users to the local zip codes. Most important. the platform automatically converted
citizen requests into "jobs'' that allowed the local precinct to track progress and share updates \Vith users.

Adoption was slow and varied substantially by sociodemographic group: some young educated
constituents in Precinct 109 quickly signed on and began using the platform actively. while in precincts
like 32, in Harlem, adoption was minimal. Where the NCO program had been received favorably.
Idea Scale was most successful -as in the I00 and 1 13 Precincts. As the number of users grew, citizen
submissions clustered around the kinds of quality or life issues the NYPD was hoping to target: The most
common complaints pertained to parking and transportation safety. drug-related activity. homelessness.
and noise, but a wide rage of environmental and behavioral issues were reported.

Lessons Learned
Learning lessons from these early implementations, the NYPD attempted to expand usage of ldcaScale to
school settings and the safety of kids walking to school. In the winter of 20 I 6, the NYPD tried an
IdcaScalc campaign in East Harlem's 32 Precinct. The Department of Education ensured that flyers for
IdeaScalc were put in kids' backpacks in Precinct 32; the idea was that parents and other community
members would join IdeaScalc in order to share their concerns about childrcn·s commutes to school.
Were there unsafe routes? Was traffic in the area dangerous to pedestrians? Or were teenagers loitering in
neighborhood shops on the way homc 9 Using flyers distributed to thousands of students through the
precinct's 18 schools, the NYPD hoped to get residents to share their thoughts on line. and, in the process,
enroll new IdeaScale users and familiarize them with the platform. After months of effort spent marketing
ldcaScalc use to parents. however, the program generated few posts. The future of IdcaScalc use in the
safety-in-transit context is unclear.

Thus, although the IdcaScale program garnered a couple of thousand community users in the l 09 Precinct
in Flushing-and continues to be used with enthusiasm there-and several hundred users in each of the
other pilot precincts, it has not been an overwhelming success.

The ldeaScale platform had many strengths: it allowed users to be anonymous; it required comments to
be approved before posting. which allowed for control over disruptive and useless invective: and it
allowed for comments to be prioritized by a relevant community. Facebook docs none of these things.
And so IdeaScalc is a better platform for what the NYPD wanted to do than Facebook is.

But IdcaScalc had significant drawbacks. It is not widely used by average citizens. It is not customized
for NYPD use. lt had what Malin terms a "clunkv" interface. And using it required that NYPD take on the
double burden of both marketing a new platfonn, to the public at large ~vh i le persuading interested
community members to nominate issues for resolution by the NYPD.




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As Malin puts it: "I've learned a lot from [ldeaScale]. I've learned what I want. We have to move our
customer service into the digital sphere. I love the idea of doing it anonymously, and Faccbook doesn't
give you that. We have to be able to find a way to move a lot of our customer service, just from filing
simple reports. to accepting quality of life complaints onlinc, and doing it anonymously. The problem is
that no one's offering the perfect product out there." He continues: "I love IdeaScalc. I love the premise
or it. It's the marketing [that's the problem]. It's the marketing and the user base."

In mid-August 2016, the NYPD started using a Faccbook feed for the 23rd Precinct, in Harlem. It is
proving easy to attract users to this Facebook page; with little NYPD effort. hundreds of people "liked"
the page after just a few days. The precinct is using the page to show pictures of its NCOs ( "Meet your
Neighborhood Coordination Officers!") on \vhich street maps of the precise sectors where those officers
arc working arc superimposed. Each photo is accompanied by a bio ( "Before he joined the NYPD, Officer
Rivera had a different profession he was a Graphic Designer") that ends with the officer's email address.
So far. comments arc few. And when they come in, Face book won't allow them to be voted up or down:
it's an undifferentiated feed.

V. The Status of NYPD Social .Media: Numbers
Twitter adoption has taken off across the organization, and today the NYPD accounts collectively reach
almost 750.000 followers. Although each unit uses these tools differently, there arc several common uses
of Twitter as officers communicate with the communities they serve and with their own workforce. The
goals of engagement vary from increasing engagement, to sharing the latest news, to raising police officer
morale.

Relative to Twitter. the ldcaScale platform diffused more slowly: the program is still used by only six
precincts and the user base remains srnal I, with fewer than 3,500 citizens enrolled. The jury is stil I out on
Faccbook. although initial indications arc positive.

NYPD's Twitter landscape
Who is tweeting?

Today, the NYPD has 111 active Twitter accounts, including the official account. NYPDNews, the
personal accounts of Commissioner Bratton and the departmental Chief\, 77 precinct accounts, 9 housing
bureaus, and other NYPD leaders.

How many followers do they have'?

Collectively, NYPJ)'s Twitter accounts reach approximately 750,000 followers. The individual accounts
range in the number of followers. with NYPDNews-the original NYPD Twitter presence-leading the
group with more than 200.000 followers at the start of 2016. Precincts have strong following, ranging
from 2.000 to 6,000 followers: Precinct 78 in Brooklyn has the greatest following. \Vith more than 6,800
followers. Housing accounts have a relatively large following. with more than 22,000 people following
Housing PSA 8. NYPD Chiefs have followings in the thousands, and Comrnr. Bratton has more than
42,000 t'ollowers as of mid-August 2016. Acr:>ss all accounts, the average number of followers remains
low, at just over 6,500. The fut~ire looks bright: As of September 2016, ChiefO'Ncill's Twitter account,
(ii>NYPDChicfofDcp t, has about 8.700 followers continues to grow. (As Commissioner, his handle will be
(<11 NYPDONcill. Chief O'Neill's recent 9/11 tweet was retweetcd 1.230 times and fovorited nearly 2.200
times.



Twitter statistics for January I - March I, 2016
                           Followers     Total         Tweets per     · Total Interactions     Follower
                                         Tweets        Day              (Likes & Retwccts)     Growth%
NYPDNcws                   203,452     . 570           9.5             73,867                 . 7.5%



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Commissioner Bratton          37,119                152                   2.53                    15,972                          6.5%;
Housing PSA 8                 22.066               48                     0.80                   458                              25.2%
Special Operations             11,872              63                     1.05                   6,960                            9Ylo
Precinct 78                   6,776                 56                    0.93                   659                              6.6%
L Train                       3,347                53                     0.88                   229                              4.3%
Midtown South                 4,580                 23                    0.38                   412                              7.9%
Average: All accounts . 6.569                       57                    0.95                    l ,711                          15.6%
Average: Housing              9,278                 38                    0.64                   312                              25.6%
A vcragc: Precincts           4,052                 50                    0.84                   769                              l l .4%


Engagement on Twitter

NYPD's Twitter accounts vary substantially in tone and content and receive different levels of follower
engagement. [n the first two months of 2016, NY PD News was the leading tweeter, with 570 messages
broadcast. Most of the accounts- 104 of 111- tweeted at least l O times in the period, and roughly one-
third of accounts tweeted more than 60 times, or once a day. All but one of NYPD ·s accounts tweeted a
photo at least once, and all but two tweeted at least one link.

Engagement from followers varied widely. NYPDNews received 37,673 likes, while the average number
or likes in the period across all NYPD users was much lower, at 1,030. NYPDNews also led in rctwcets,
with 36,194 in total during the period, as compared to an average across NYPD accounts of 681. Overall,
the NYPD accounts received an average of 18 combined likes and rctweets for every tweet they sent out.

Twitter statistics for January I           March I. 2016
                                                                                                             Tweets Per
               Total Tweets             Photo Tweets              Link Tweets           Text Tweets          Day
Maximurn                     570                     183                       265                     80                9.50
Median                        45                      32                           4                     3               0.73
Average                       58                      39                          11                     5               0.95
Minimurn                                                 ()                        ()                   0                    0




                                        Follower                  Follower
               Follo1vers               Growth                    (]rowth %

Maximum               203,452                   14,176                        96%
Median                    3,841                     436                   13.3(i1J
                                    :
Average                   6,569                     754                   15.6%
                                                              :
Minimum                     1,085                     79                      3.8(}{:




                                                                  Likes per             Total                Interactions
               Retweets                 Likes                     Tweet                 [nteractions         per Tweet
Maximurn               36.194                   37.673                           75             73.867                      130

Median                       166                    372                           JO                   544                   13
Average                      681                   1.()3()                        12              UI I                       18



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Minimurn                  0               ()             ()              ()             ()


Who nms the accounts'?

Initially, Twitter accounts were overseen by one commanding officer and one or more assistants, who
divided responsibilities in a number of different ways. Some commanders preferred to tweet themselves
and were hesitant to hand control to even a trusted assistant, while others relied on staff-especially
younger and more wchnologically-savv y employccs----to help them draft and send out messages. This
case-by-case decision-making regarding the assignment of responsibility has been replaced, as of June
2016, by dedicated social media personnel in each NYPD precinct.

Who follows the NYPD?

Fine-grained statistics on these followers arc not available-the public version of Twitter does not tell
researchers whether particular followers arc people who live in particular places. Multiple officers,
however. believe their followers arc from their precincts, and stressed to us the importance of having
followers who arc also New York City residents: these followers arc their target audience and provide the
most important two-way engagement on line. In a city of 8 million residents, NYPD seems to be reaching
less than 800,000. or around 10 percent, of residents.

Twitter's many uses
Messages from precincts and bureaus routinely address both internal and external audiences. In
addressing the public, the NYPD uses social media to increase transparency of the day-to-day work of
policing by noting successful police work and highlighting events held in communities. With these
messages. commanders attempt to build u more open and accessible public profile in hopes of increasing
the integration of NYPD officers and their communities.

Connecting with NYPD officers and staff, however, is also a central goal. Twitter is used to highlight the
daily successes of officers in the field. congratulating police on operations to collect guns or apprehend
criminal suspects. Social media accounts arc used to celebrate the careers of police officers nearing
retirement, indicating leadership's gratitude to these officers for their service. While NYPD's Twitter
audience includes all sorts of New Y orkcrs, they appear to have a particularly strong following among the
police officers and their friends and family. By publicly recognizing police work, these social media
accounts boost officer morale intern a Ily.

Social media is also used as a counterpart to media coverage to convey timely information to the public.
Two distinct approaches arc common. First. NYPD uses social rnedia to solicit the help of the public in
urgent public safety matters. whether this means identifying and locating a criminal suspect or responding
to an emergency. Secondly, Twitter is often used to share NYPIYs perspective on breaking stories.

Many officers, including Commr. Bratton, expressed frustration that, prior to their use of social media,
they had to watch passively as inaccurate information, or anti-police perspectives, dominalCd the media
cycle. With Twitter at their fingertips, they can now clarify misinformation on timely events or share with
the public an alternative version of the story that conveys the police officers· point of view.

Connecting with communities

The first priority and initial impetus for using Twitter was to increase interaction with the communities in
which police officers work every day. Precinct commanders and chiefs use Twitter to share information
about community events, encourage community members to attend public meetings. and document
NYPD's service work in communities.

In times of heightened tension between police and their communities. Twitter has been a particularly
important tool for highlighting positive stories. In the weeks of protest over police-related violence, Chief
of Community Affairs Joanne Jaffe used her account to share stories about the strong relationships some
communities have with their officers and the outpourings of support for police received in some



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neighborhoods. In the midst of visible tensions, Twitter was an outlet for sharing public stories of
solidarity.

Sharing urgent information

In an emergency, social media can provide a tool for quickly and widely sharing information on ongoing
issues and the appropriate public response. As Sergeant Grattan explained, '•if something critical happens
laffccting the transit system!, people would already be tuning into the chief of transit's account" and
would be immediately notified of how to respond. Chief Wedin echoed the sentiment with regards to
special operations: '•If there's a bui !ding on fire we'll put photos out from aviation, l with a notification
saying] 'A void this area, there's a building on fire. that's what's going on.' So people do sec that and say,
'Yeah, I better stay away from there, the traffic's going to be congested, I'll go this way."'

Mobilizing the public

In many cases. the public can serve as extended eyes and cars for the NYPD in their effort to apprehend
criminals or identify criminal activity. The NYPD has long made use of Crime Stopper, a call-in number
for reporting information about crimes or suspects. Today, the NYPD uses Twitter to inform the public of
recent criminal activity and to disseminate images or details that would help the public identify a suspect.
As Chief Boyce explained: "We do it all the time. [We announce:] 'We're looking for this man. We're
looking for a murderer right now' ... People will give him up." While public reports arc still submitted
through Crime Stopper. rather than directly through Twitter, Boyce explains that his "cops love it too,'·
because Twitter allows them to share sketches. videos, or still images that help the public correctly
identify and report suspects.

Twitter can also be used to spread the word about missing persons and request help from the public in
locating them. In some cases. this information stretches across space and over time: one officer reported
Tweeting about a missing persons cold case from many years prior. and hearing immediately from the
missing person herself. In these ways, social media provides an unprecedented connectivity between
police and public awareness.

Communicating with the media

In addition to sharing information directly with the public, Twitter offers an outlet for the NYPD to
engage with the news media. Sometimes this involves the dissemination of tirnclv information to
follo(vcrs, a large portion of whom arc members of the media. In other cases. Twitter allows officers to
acknowledge or respond to coverage of the NYPD in the news.

Sharing the police per.~1Jective

In the age of social media, information spreads quickly. but this includes incorrect information: one
inaccuracy about a crime or hazard can quickly proliferate across media outlets online and on TV. Police
officers appreciate that Twitter allows them to quickly share an account of recent events, or even events
unfolding in real time, and to directly address misinformation in the media. This capacity is useful in a
wide range of circumstances: it may help manage public response to rumored terrorist threat, or it can
help ensure that suspects arc correctly identified. As Chief Boyce explained: ''There's a lot of
misinformation that comes out of media. It's an opportunity to reach out and get messages out.''

As the NYPD works to improve community relations, social media can also provide an opportunity to
share the police side of the story. While police violence is a valid and growing concern. communities may
have a better understanding of police oiTiccrs-and be better able to positively interact vvith them-if
there is a shared understanding of the daily concerns and professional obligations of police.

Humanizing NYPD ,~tf'icers

Twitter is used to provide an on-the-ground perspective on the daily lives of police officers and their
leaders. This gives communities an opportunity to identify with police. connecting to their shared
experience as employees and team members, and in their family roles. In some cases this involves



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bringing police into community experiences, such as Chief Jaffe ·s participation in lftar, together with
members of the Muslim community. In other cases, Twitter conveys the humanity of police offers by
highlighting daily tasks. As one administrator explained: Twitter can be used to help community members
understand that "there's an actual person behind the uniform. That's someone that I can relate to and I can
talk to ... Ifs just to show the community that wc·re also the community."

Enhancing workforce morale

Among the most important uses of Twitter, according to NYPD leaders, is to acknowledge and celebrate
the department's own employees. With a large audience of street-level officers, as well as their friends.
families, and neighborhoods, NYPD cornrnanders can improve morale and offer support by publicly
recognizing their officers' work on social media. Sergeant Grattan explained:

        We very much prioritize our engagement with members of the service as well. .. Perhaps on some
        days, even more so than the public, [we l sec our audience as our fellow members of the service.
        Chief Fox is a very big believer in bridging the gap between the executive staff, himself. and the
        members in the field that arc in patrol every day.

Many commanders and Chiefs tweet regulmly about the accomplishments of their teams, or recognize a
career of service for an officer on the eve of retirement. Chief Boyce explained that, with Twitter, ''I can
boost my morale tremendously ... Get the word out [about] the great work by the men and women of the
Detective Bureau."

Improving management

Part of managing a team is enhancing workforce morale and supporting job satisfaction, but NYPD
leaders must also ensure that their officers arc responsibly and effectively doing their jobs. While Twitter
is mostly used to broadcast information to the public or to specialized audiences, some NYPD users arc
beginning to use the feedback received through social media to better manage their teams. With Twitter,
they can learn from the public about the performance of their officers in the field, where they arc beyond
the direct observation of leadership. As Chief Wedin explains: "I want to know if someone is saying
something about one of my people, [if they! did something wrong, so 1 can correct it if it is something
that needs to be corrected .... It's good because you get feedback from people ... If someone's doing
something that isn't what it should be, I want to know about it.''

NYPD·'s IdeaScale numbers
While NYPD primarily made use of Twitter to broadcast informution to its audiences. the IdcaSealc pilots
were aimed at helping the department be more responsive to the issues that its constituents cared mo.st
about. IdeaScale crowd-sourced issues for police attention. letting citizens submit ideas or vote on ideas
that have already been submitted. Unlike Twitter (or Facebook), ldcaScalc registered submissions and
votes from unique users, so that the police could differentiate issues of high concern to a small number of
people from issues of broad concern across the neighborhood or across the city.

Where is/was IdeaScale used?

Much like the NYPD's Twitter program. which was piloted by five key users, ldcaScale was tested in six
precincts: 32. 33, 100,101, and 113-the five NCO precincts-and l09. IdcaScale was viewed as an
onlinc complement to the NCO approach aimed at fostering community engagement.




Who operated ldeaScale?

As with Twitter, Malin explains, "The other thing we've clone is we've identified one police officer in
every one of the neighborhood policing precincts. he's going to be the Facebook guy. His job is he's




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actually going to be the social media coordinator. Every precinct now, we have an embedded officer
who's going to run Twitter, Facebook, and if they have IdeaScalc, IdeaScalc."

Users and engagement on IdeaScale

Across the six precincts where [deaScale was deployed, approximately 3.500 residents were enrolled.
Although enrollment is uneven across precincts, on average it was just over 550 users per precinct.
Roughly 10 percent of users were active: as of March 2016, 350 unique individuals had submitted 420
issues. or approximately 1.2 issues per active user. Of the 420 issues, roughly 280, or two-thirds, were
addressed with police action.


Using ldeaScale and Facebook.for local issues
IdeaScale gave community members a forum in which they could voice concerns directly to their local
precinct. It also allowed the precincts to gauge how widely these concerns were held by citizens.
Although users remained anonymous, they had unique identities so that police could communicate
directly with them to follow up on issues or count the discrete number of community members who voted
in support of a particular issue.

The platform allowed users to enter any issue description, so IdeaScale cast a wide potential net. A early
2016 summary of activity in one precinct showed high levels or support-- given a relatively small user
base - for a small number of issues:

RANK    TOTAL
        VOTES
#1      58       Police presence (vs burgs+ graffiti)
2       54        Illegal parking of commercial vehicles
3       46       Public alcohol drinking and loitering
4       38        Bottle collectors
5       38       Getting to know cops
6       36       McNeil Park
7       36        Speeding on tertiary roads

8       34        Fighting graffiti
9       30       Security cameras
10      26       Stop sign violations


In addition to voting in support of certain issues, users could comment, adding further information or
voicing an alternative version of the issue. Officers could also comment. and were expected to respond to
all submissions over time. Comments from officers could include requests for clarification, or reports of
action taken on the issue, such as increased presence in an area or the issuance of summonses.

Time will tell whether Facebook will become a useful neighborhood platform for two-way
community/police interaction that increases mutual respect and allows for hypcrlocal engagement. The
Facebook pages mounted so far by the NYPD suggest that users call the city-wide 311 service number for
non-emergencies. Usage ofFacebook is not anonymous and active commenters may have zero
relationship to the precinct itself. It is well-known that Faccbook is used by police to track suspected
criminal activities, which may deter some communities from engaging there. Voting up of issues is not
possible via Faccbook, although intensity of interest can perhaps be gauged by the sheer volume or
commentary. But the NYPD is trying something new that is, from their perspective, likely more out-of-
control than their prior culture would have allowed.



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VI. Digital infrastructure for modern policing
When Commr. Bratton took office, the NYPD's information technology infrastructure was woefully out
of date. Precincts were served by 20th century low-capacity Internet connections provided by Verizon,
which was less of a problem than it might have been because so few precinct officers had access to the
Internet. Few officers had a desktop computer, and fewer still had computers with Internet connectivity.
Most officers had no phone number or voiccmail. Only 10,000 members of the NYPD had email
addresses and most of the holders of addresses were civilian. The NYPD trusted its officers to carry
guns and gave them the power Lo arrest people. but didn't trust them to use Google or an email address.

In two busy years. the NYPD has replaced its data centers, started construction on a redundant citywide
fiber optic network, invested $140 million in smartphones for all officers and in-vehicle tablets, and set
up email, phone numbers, and voiccmail for most officers in the street. For Deputy Commissioner of
Information Technology Jessica Tisch, the work of the TT department is the foundation for outreach
programs that rely on technology: they arc building the highway that will enable officers to function in
the modern era. Commr. Bratton clearly understood the power of this adoption and change: "This is
technology that will allow me instantly to reach all of my troops .... We'll have the ability to have me sit
in this room and just speak to a camera and talk instantly to thirty-five thousand cops."

Data centers

One of the first orders of business in the new administration was the development of new data centers.
The existing data center was stocked with end-of-life equipment and unreliable connections to backup
centers. Tisch focused on developing two new data centers. sited in diverse locations and housed in
buildings specially designed for this purpose. For around $200 million, the department replaced all of its
outdated equipment including two new mainframe systems, and set up and tested full disaster recovery
capacities.

Networking

Another top priority was updating the department's network. The NYPD had previously relied on
Verizon, which provided its field centers with such slO\v connections that having a few computers on line
simultaneously would cause problems. The department is investing roughly $100 million to build 750
miles of proprietary fiber optic cable. servicing all 241 NYPD facilities in five boroughs. The system is
built around a IO-node ring that ensures redundant connectivity. While the project is still in its early
stages, with completion not expected for several years, the centers that have service can now watch the
weekly CompStat meetings live.

As more officers gain access to the Internet in precincts and via mobile devices. the NYPD has also
thought about levels of access that arc appropriate for officers on the job. There are now distinct levels of
access linked to individual profiles, which function across devices.

Smartphones

Perhaps the most far-reaching technology initiative, and the one most closely linked to the
implementation of Twitter, JdeaScalc (and, now. Facebook), and email, was the department-wide rollout
of specialized Windows smartphones. The NYPD was awarded $140 million by the Manhattan District
Attorney from a settlement with international banks accused of breaching US sanctions. The money was
used to invest in 41,000 mobile devices, including 35,000 smartphones and 6,000 tablet computers
installed in police vehicles. Initially, the department planned a two-year rollout. After piloting
smartphones in four precincts. however, department leaders saw the massive benefit of the equipment and
accelerated rollout to a shortened, six-month schedule.

By the early months of 2016, the NYPD was rolling out new phones to six commands per week. Rollout
was completed in mid-2016. The NYPD provides devices and training in how to use the phone, the
proprietary applications, equipment maintenance, and the many legal issues associated with on-the-job



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smartphone use. To date, 25,000 smartphones have been distributed and 1,300 tablets arc installed in
vehicles.

The smartphones operate on the Windows platform. Although this was not a universally celebrated
decision-Windows phones arc not popular with consumers, which has led to few applications being
developed for them Windows provided security and comprehensive device management that was nol
available from other providers. This capacity allowed the IT department to push updates, track usage, and
communicate with or wipe phones remotely. Centralized management has proved important to
maintaining order during the massive scale-up: the IT department previously managed only 20,000
dcviees, most of them desktops; by the end of 2016, they will manage roughly 60,000 devices combined,
in precincts and in the field.

Applications

Smartphoncs arc only as useful as the applications that they provide, and the NYPD has invested heavily
in developing custom applications to support police work. To date there arc seven custom applications
installed on the srnartphones, which officers are trained to use.

One of the most significant of these is the "911 app,'' which provides several important improvements on
the traditional radio method for managing 911 calls. With the 911 app, information entered at the call
center is pushed out via the application, rather than called out over a radio line that might be busy with
other calls. Officers therefore get more dcLailccl information about the incident and arc more aware of the
response required.

The 911 app provides a number of additional functions: officers can call back the original 911 caller to
request more information; it provides officers with step-by-step directions to the location; and it pulls up
underlying records for placcs---including existing warrants--and individuals associated with the place. In
addition to serving officer in the field. the app gives managers insight into citywide issues, with summary
statistics and filters to view 911 calls by location or issue type.

A second application, currently in development. is an integrated records management system. The
application, dubbed FORMS for ''Finally, One Records Management System." allows officers to
complete forms on their smartphone or tablet. Most importantly, it draws data into a single integrated
database, breaking down historic siloes between databases for complaints, accidents, investigations, and
other events. The IT department is rolling out one form at a time. beginning with ·'aided'' report, which is
used to report injuries.

A number of other applications deal with communication, including messaging and broadcasts of videos
from the Commissioner. The new messaging application allows officers to send group messages targeted
by location, rank. or command. Messages also have different levels of notification, with urgent issues like
amber alerts or officer safety alerts requiring direct acknowledgement from the smartphone holder. A
video application allows officers to watch videos uploaded by commands or the Commr. himself.

The phones arc secured with different levels of security depending on the sensitivity of the application.
For applications like the 911 app and FORMS, officers arc required to enter a pin and swipe an ID card.
which provides four hours of access.

Adoption and outcomes

The NYPD expects that this infrastructure upgrade will have substantial effects on performance. There is
potential for these tools to greatly increase productivity. As Tisch explained, it is almost difficult to
imagine how officers did their work without these tools:

    Imagine being a detective, the lifeblood of your work, is interviews or contact with complainants,
    witnesses, victims, district attorney offices, and you don't have a personal phone number. you don't
    have a voiccmail, you don't have an email? That's crazy.




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With faster network connections and mobile devices in the field. officers are able to stay in touch with
other officers and with informants and follow events as they unfold in real time. Among other things. this
has the potential to increase safety for officers: the 91 l app can give detailed information that might better
prepare officers to enter a rapidly unfolding situation. By moving away from the cluttered radio airwaves,
the application may also lead to faster response times. To elate, it is difficult to measure the impact of the
technologies on basic performance statistics. but collecting the data and developing performance metrics
is a critical long term goal for the IT department.

One-day usage of mobile devices, 25,000 phones and 1,300 tablets in the field
ID-enabled applications    5,716 logins from smartphones
                              1,223 logins from tablet
Searches                      20,250 total searches
                              8,269 state and federal database queries
911 app                       29,957 jobs viewed
Video                         848 video views
Flyers                        2,662 wanted flyers viewed
VPN access to email           12,000 concurrent VPN sessions

Going forward

Most of these projects arc still ongoing, but the NYPD is already looking to next steps. There arc plans to
integrate social media data with gunshot detection and 91 l calls in order to inform officers in the field
and investigations after the fact. The TT department headed by Tisch has big plans for data analytics as the
various applications are launched and continue to evolve. Perhaps the most significant upcoming project
is body cameras: the NYPD planned to have a contract for cameras in place by the summer of 2016. but
data transmission, storage, security, and analytics present formidable challenges and have delayed
deployment. The Financial Times reported in June 2016 that dozens of bidders were pitching their body
camera solutions to the NYPD and that the search for the right device had been "slowed down in part by
the sheer number of potential purveyors."


VIL Limitations and Opportunities: Technology Adoption by the NYPD
While the NYPD made substantial headway in implementing Twitter and ldeaScalc (and now Faccbook)
as part of a broad engagement plan ancl departmental culture change, there remain substantial
opportunities for improvement.

Building a local audience

Although the NYPD has quickly built a local following, it is not large. By the end of 2015, the 111 NYPD
Twitter accounts collectively had almost 750.000 followers. In a city of 8 million, this is still too limited.
As one officer explained. ''We still struggle with the general public awareness of the fact that they can
tune into online." Police ''Radio Motor Patrol" (RMP, a term used within the NYPD) cars have their
precinct's Twitter handle emblazoned on them, but even this practice has not led to full awareness of the
NYPD's Twitter program.

Cultivating a local audience is particularly important. Many non-local Twitter users-especially
journalists-follow NYPD accounts, but the department is focused on engaging with their own residents.
In part, this is because local residents arc their constituents. Locals can also be helpful to the department
during the search for a suspect or other emergency situations. And the long-term hope is that Twitter
engagement will lead to the development of genuine relationships that allow confidential information to
emerge.

Two-Way Communication


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The greatest potential of social media is its ability to facilitate two-way communication. To date.
however, the department makes limited use of this capability. As one senior officer explained. ''we did a
great job at communicating at the public, but wc ·c1 never. in my opinion, done an effective job of
communicating with the public."

Listening is critical, not only because it can provide the NYPD with valuable information, but also
because communication is a two-way street. according to a senior executive: ''You have to be able to
listen, because if you don't listen to people, then they stop talking, and they stop listening to you.'' As
NYPD expands its use of social media to include Faccbook (and. very recently, Snapchat, on which
NYPD News has launched a channel) it will benefit from learning how to harness the ability to hear from
its communities online.

Measurement

The recent initiatives implemented by the NYPD have been aimed at improving the responsiveness and
community engagement of the department. But few metrics or benchmarks have been established to track
the success of these efforts.

The best intentions may fail to yield meaningful change, and the NYPD will know whether it is reaching
its goals only if data arc regularly collected, analyzed, and measured against targets established in
advance. The administrators of these programs know that this is a shortcoming of these organizational
initiatives.

VIII. Lessons Learned
Leadership support is crucial

The massive attempted transformation of the NYPD-frorn command-and-contr ol to decentralized
empowerment, from one voice to many, from a focus on crime to a focus on cngagcmcnt--was made
possible through the strong leadership of Commr. Bratton. From his first day back on the job in New
York City, Commr. Bratton (an "old cop from the new school," in the coinage of the Financial Times)
was unequivocal about his goals-culture change, coriununity engagement, responsiveness and
accountability-and firm in his commitment to these transformations. His determination supported the
rollout of new gear for supporting officers ancl departmental operations.

This strong leadership empowered chiefs and officers throughout the organization to take on new
responsibilities. As he told us, "My leadership style was supported by that idea of the more people
involved in the process the better. ... I have a penchant for as much as possible surrounding myself with
very smart people and really letting them to the best of their ability do their own thing- but do their own
thing within the structure of the strategics that they've helped to define and shape." This tactical freedom
appears to have led to decentralization, empowerment, inclusion, and exchange of information within the
NYPD and with constituents. One senior officer told us: ''What Bill Bratton brought to the police
department [was] technology, [whichj allowed us to start communicating with the public ... on an every
day basis."

Don't be afraid of mishaps

Commissioner Bratton ·s umvavcring support for the adoption of social media and other technology, in
spite of early difficulties, emboldened officers through the organization. Fear of public backlash was set
to rest with Comrnr. Bratton 's firm support even in the face of minor scandals like the //myNYPD
campaign. Bratton's leadership convinced (mandated) some holdouts to join and allowed others to
cultivate online personalities that in turn brought in followers. Assured of the support of top leadership,
officers throughout the organization were free to experiment:.

Social media platforms are part of operations




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Deploying social media to enhance traditional communications can be very useful, but in order for social
media to help break down barriers between police and communities, it must be understood as a necessary
component of a police officer's core duties. Although many communications teams use social media.
when it comes to policing, social media within the NYPD has been treated as a central communications
operations tool. As Deputy Commissioner Tumin described. social media at the NYPD is "about
enhancing the core mission'': ··Jt's like any tool. [Social media] is what the commanding officers arc using
now to talk with their community, their citizens, their workforces."

Let officers develop their online identities

The most successful officers on Twitter have been those who have developed strong onlinc personalities.
By encouraging humor and self-expression, within appropriate bounds, the NYPD was able to rapidly
scale up its social media program, reaching almost 750,000 followers in two short years. While the
number of tweets is highly correlated with the number of followers. popular Twitter accounts--such as
Chief Wcdin's Special Operations account--conncct with a particularly large audience.

When considering how to invest human resources in advancing a department's social media presence. it
makes sense to think about who will be most effective online. As Sergeant Grattan put it:

        The same people that are open, or dynamic, or funny elsewhere. arc very good at taking to
        Twitter. That's the bottom line ... They happen to be very good on Twitter. They also happen to
        be very noticeable, or dynamic, or accomplished, or whatever it is, outside as well. .. It's a
        personality thing.

While social media could potentially be part of any officer's community engagement repertoire. the
NYPD will need to continue to permit its big personalities to draw an audience onlinc. And: now on
Facebook, where pictures, videos, maps, and casual comments can all be used by officers to communicate
and respond.

Social media and traditional public relations: Not an "either/or"

Even as officers across the NYPD learn to communicate directly with the public, the office of Public
Information maintains a critical role. As Tum in explained, this division has a critical task: "to
communicate with reporters and give them facts.'' Social media is not a replacement for official public
relations. It is, rather. a complement to these official pronouncements. expanding the scope of police
communications in fundamentally new ways. By embracing both forms of engagement, the NYPD was
able to expand public information while continuing to improve on traditional methods.

Learn from the younger generation

Although NYPD's top officers are leading the adoption of Twitter and. now, Face book. there is much to
learn from members of the organization who arc younger and have more experience with these
technologies. For younger officers it can seem as if ''the [command] is coming from an era from
yesterday."

In order to advance the department's use of new technologies, top officials can engage junior members of
the force and learn from them. Once senior officials get a handle on the new tools. new forms of
engagement can occur within the organization. One senior officer talked about his growing ability to
connect to the younger members of the force: ''I think now, the magic is that we're starting to speak their
language. Once you start to speak their language. then they can understand you, and then you can
understand them."

Social media as complement to in-person contact

When it comes to improving community relations. police officers' most important arena is still in the
streets. As one officer in Strategic Communications explained: "We should believe in the same values in
terms of customer service [on line], but we are trying to achieve that with the face to face. Social media is
still secondary.''



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Policing is first and foremost about protecting people where they are. Tnmin explained that the "principal
customer service organization is the precinct. walk in or phone or it could be an officer in the car, it could
be an officer in the home. These arc all really important touch points."'

Social media can provide a productive complement to these in-person interactions, but it also has its
limitations. As Wedin pointed out. "Calming someone down on Twitter is very difficult, face-to-face it's
easier because you ldcvclop some connection I person-to-person.'' As police departments expand their use
of social media, in-person contact must remain the priority.

Low cost/high benefit

One of the most striking things about using social media is its low cost. This is true both in dollars
Twitter and Faccbook arc free for anyone to use-but also in terms of public relations. As the f/myNYPD
incident demonstrated. a problem onlinc may be a problem short-lived. Within a year, the NYPD was
noticing that: "the cost of this was minimal. [bothJ dollar cost [andJ reputational risk ... We have seemed to
almost zero them out."' And the benefit? Tu min explained: ''What we saw on the positive side of the
ledger was this new voice Jandl we saw engagement go up.'' Although training might take time, the
benefits arc potentially unlimited.

For more complex programs, develop a rollout strategy

Twitter already has millions of users, but for programs like IdeaScalc, it was eritical that the NYPD get
the word out. This was not the right role for the NYPD. As Captain Malin put it.

        We introduced it at the community council meeting. At that point, we didn't have the business
        cards ready, we didn't have the flyers ready ... We didn't sit with the precinct and say, 'Herc's a
        plan to introduce it.' We introduced it, and now we're doing these things. back-filling.

The problems of rollout were crippling for the IclcaScalc program in many areas. To be sure. the NYPD
had thought of email distribution as a way to get the word out at the time of these community council
meetings, and used Community Affairs email lists to do that. But those lists weren't as effective as
anyone had hoped in prompting community members to adopt IdcaScalc. IdeaScale would have fared
better had it been supported by a faster. citywide rollout and a citywide advertising campaign-the
process the city followed when it rolled out its 311 service. Faccbook. it's fair to say, will be a far easier
sell.

Adjust course when necessary to communicate with people where they are

The piloted use of ldeaScale was a brave experiment by the NYPD, and there were clearly advantages
offered by that platform that are not available from mass-market platforms like Faccbook and SnapChat.
But the trouble was that ldcaSeale, while undoubtedly a useful ideation platform within individual
enterprises, had not been widely adopted by the citizens the NYPD was hoping to reach. By continuing to
experiment with IdcaScale while pivoting to Faccbook and SnapChat, the NYPD showed that it was
capable of learning valuable lessons about digital technology-- without giving up on the enterprise ol'
communicating more thoughtfully and usefully onlinc with constituents.

Social media is part of a broader shift toward engagement and crime control

Cornmr. Bratton's goal has been to maintain the efficacy of crime prevention while expanding the reach
of public engagement. One of his aims has been to shift the internal culture of the NYPD to emphasize
positive community relations. Social media has become a part of that transition. As Turnin explained.
social media is part of a process of proving that effective crime control and collaborative community
relations can coexist:

        What we know from the last 10 years is that the single-minded pursuit of crime control without
        regard to the citizen sentiment or workforce engagement will bring a department no joy ... I think
        that effective policing in the age of social media means being able to have ... what's been thought



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        to be impossible trade-offs simultaneously ... [The common perception is that I you can either
        have constitutional policing or crime control but you can't have both: you can either have
        workplace safety or great profits but not both. I think that great leaders have always found ways
        to throw that equation into the trash and to achieve both at once. Social media makes it easier
        because here's a much greater insight, much foster. much better to what you should be doing next.

At the same time the department has dramatically improved its network access, data center technology,
and smartphone use, the NYPD has maintained its devotion to fighting crime. Commr. Bratton himself is
proud of these developments. He told the Financial Times in June 2016. "What we have engaged in the
last couple of years is almost revolutionary in our embrace of. in our acquisition of. and in our creativity
and use of technology. I think it is one of the reasons why, at this point in time. in this city, unlike many
other cities, we have the momentum of 25 straight years of reducing crime." And he told us, "What I like
doing is transforming organizations. re-positioning, refocusing them. In doing that [f like] to identify
ways in which that can be facilitated." Using technology. he said, "is a perfect match for my particular
style." But Bratton is also humble: "How a lot ofit works? I have not the faintest idea."

Conclusion

The implementation of these new technologies by the NYPD involved a substantial cultural change.
moving away from top-down control, single-minded focus on crime-fighting. and limited transparency.
When it came to social media, the transformation was explicit. Under prior administrations, "the social
media policy was, essentially: "don't.' Bratton's policy [was I: 'do and \Vc'II figure il out later."' As
Comrnr. Bratton told us, he saw the beauty of the idea of "creating a seamless interaction between the
public and the police and between the police leadership and the cops and the public." Commr. Bratton
believed technology would help "close the trust gap" in the longer term-perhaps twenty years from now.

Better training and recruitment, responsiveness to community complaints about disorder, digital and in-
person interaction with the public to create trust. using smartphones to reach cops. the comfortable
exchange of information across myriad channels. the ability of the police to route around misinformation
propagated through traditional media, particularly in emcrgcncics--all of these directions fit together for
Comrnr. Bratton. And all of them were informed and assisted by his technology leadership, even if he
didn't himself understand the details of the technologies involved.

For Commr. Bratton and his team. the point was to make lives better for people in New York City. He
told us that his former admired colleague .lack Maple, the man who <.:arnc up with the ideas driving
CornpStat. would have recognized the value of Twitter and technology generally, even though he
wouldn't have "had much use for a lot of the fluff, if you will, of the 'community relations' issues." For
Commr. Bratton, as for Maple, "It is all about protecting good people from the bad people." That's what
drove Maple, who Cornrnr. Bratton described as "an extraordinarily compassionate person." He went on:
"A lot of people would not have sensed that - he had that rough and tumble kind of cop persona that he
pushed out." Commr. Bratton had promoted the flamboyantly-dressed (Homburg. spatted shoes) Maple
above many others to make him Bratton's second-in-command; Maple's watchword was that
intelligence-information-wa s the key to everything.

Just after Comrnr. Bratton announced his plan to retire from the NYPD as of September 2016. John F.
Ti money. a man Bratton had described as his rock, died at 68----Comrnr. Bratton's own agc--of lung
cancer. (Commr. Bratton's father died earlier in 2016 at 89.) Timoney had been the third in command at
the NYPD during Bratton's first tour of duty there. and had gone on to serve as commissioner in
Philadelphia and chief in Miami. He had reduced shootings by the police in all three cities and shifted the
emphasis of policing from summons quotas to street-level crime prevention and enforcement. "He was the
NYPD personified." Commr. Bratton was quoted as saying, a cop with a swagger and a thick Bronx Irish
accent, and Bratton had wanted Timoncy to succeed him after that first tour. (Mayor Giuliani chose his
fire commissioner instead.)

Timoney had famously told the NYPD brass in 1994 that the department was wrong for reacting instead
for anticipating; for foiling to attack crime; for "cleaning up dead bodies when they should have been out
saving lives." Timoney was as tough as could be, but he had no patience with officers who thought they
should be shooting at cars and meeting quotas instead of taking on disorder. He also focused on



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information. saying, "When there is trouble getting the information. it's usually because there's trouble
with the information!" Bratton wrote a piece about Timoncy for the New York Daily News. Ti money. he
said, "loved helping people as much as he loved the thrill of the chase," and Bratton had promoted him
over a score of more senior officers, in an "unprecedented jump from one-star chief in the policy office to
four-star chief of department.'' Bratton described Timoncy as "an innovator, a leader."

Timoncy and Maple and Bratton used to go up to Elaine's on the Upper East Side together for celebratory
dinners during Bratton's first tour. They were close; an Esquire article in 2013 said that Timoncy was the
rough face of New York City that Bratton (always well-groomed) needed to reach cops, and Maple was
Bratton's genius bright-eyed tactician. When Commr. Bratton talks about Maple. who died in 2001, and
Ti money. he's also talking about what he most values in police leadership: curiosity, openness,
stubbornness, indomitable will, tough idealism. bravery. collaboration, "the more people in the tent the
better," using inspiration to transform, giving people ownership of their jobs, and belief. His 2014-16
service has been, he told us, "a transformativc time in the department."

Crime numbers remain low in New York City: Over the last 23 years following the introduction of
CompStat. murder and robbery have both gone down by 83 percent. rape crimes arc down by half, and
burgla1y has fallen 87 percent. And after Commr. Bratton announcccl his departure in August 2016, he
told the New York Daily News that although the results of his programs have not folly played out yet, he
believes the city has "made tremendous strides forward" in easing racial tensions between police and
citizens. The seeds he plantcd--the NCO program, the Twittcr/IdeaScale/Faccbook evolution tied to that
program, the technology revolution he saw carried oul, the changes in recruitment ancl training he
championed-will flower later.




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Social Media
Tips, Guidelines
& Best Practices




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April 22, 2014
Elizabeth Walker
235 West 12alh Street
Apt 2
New York, NY 10027
{5:)Jl) 575 9600 (cell)

To Whom It May Concern:

I was one of Kelly Price's neighbors when she lived at 237 Wt              _.ieet. I have
lived at 235 west 120th Street for five years. I am an attorney . ·'"" nave been a member
of the New York State Bar for over seven years.

During the course of our relationship as neighbors Kelly shared with me the trouble she
was having obtaining police assistance from members of the 28th Precinct on multiple
occasions when she had been attacked by people in our neighborhood, including her ex
intimate partner, Raheem Powell. I did not witness the events or attacks Price described
to me, but she would cry on my shoulder whenever was assaulted, often by women
whom Kelly believed were associated with her ex, his alleged drug dealing associates,
or childhood cronies. Kelly was particularly dismayed that the police refused to take her
reports, follow up on assaults against her person, or regard her as a member of society
needing protection in general. She told me that officers in the precinct told her that the
district attorney's office had instructed them not to assist her. Candidly, I did not entirely
believe that the police would refuse Kelly, and I suspected that it was likely she was
omitting some dispositive reason why the police were reluctant to intervene on her
behalf against her various alleged attackers.

On the evening of October 17, 2012, Kelly called me crying and asking for my help.
observed her distraught and injured after being assaulted in broad daylight on the
corner of our block, at 120th Street and St. Nicholas Avenue, while she was en route to
her home from the 125th Street subway at approximately 5:30 p.m. I observed that she
was disheveled, her stockings were torn, and her knees and hands were bruised and
bloodied. Kelly was nearly hysterical and I had to calm her down and give her medical
assistance. Kelly related that a purported heroin dealer named Willy who was known to
many residents in the neighborhood (he operated his business from a visible stoop on
Saint Nicholas Avenue) had "jumped" her and hit her in the face, spit at her and pushed
her onto the sidewalk while screaming insults at her. I do not recall what Kelly had said
to him before or after the attack, but I do recall that she did not provoke or retaliate
against him physically. I took pictures of Kelly and her wounds, and encouraged her to
call 911 for assistance in reporting the crime. Kelly stated that she already had called
the 28th Precinct and that a patrol car had been sent to the scene of the assault. Kelly
said that when the officers arrived they refused to take her report and called her crazy.
Kelly also stated that she had then walked to the precinct a block or so away for help
and been rebuffed by the desk sergeant who Kelly said ridiculed and mocked her.
Notwithstanding her story that she had sought police intervention earlier that day, I
insisted that she call 911 again and report the chain of events. She complied.
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Eventually another patrol car with Officers from the 28th precinct arrived in front of the
brownstone we lived in. Two police officers, whom Kelly has since reminded me were
named PO Longo (shield# 31565) and PO Walker, related to us that they were
instructed by the station's Desk Sergeant not to take Kelly's reports. PO Walker stated
that the District Attorney's office had instructed the precinct not to respond to any of
Kelly's calls. I recall being genuinely shocked and outraged to hear this instruction, and
further surprised that a young woman, like PO Walker, would be tasked by her superiors
with being complicit in such a scheme that leaves domestic violence victims without
recourse for protection. At this juncture, I introduced myself as an officer of the court
and member of the NY State Bar, and pressed the officers by reminding them of their
legal and ethical responsibilities to provide complainants with police services. I recall
that the officers responded more favorably to me than they did to Kelly, but I could not
discern whether this was the case because I notified them that I am an attorney, or
because I'm just someone other than Kelly Price. PO Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event that it most likely would be circular-filed in the trash bin. PO Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. I was then, and remain dumbfounded by what I witnessed
transpire that evening.

As a single young woman living and working in NYC, it unsettled me that the police
could be so cavalier about the safety of Kelly Price. Kelly has since told me that the
complaint number she was given months later when she inquired as to why no one had
ever followed up with her about the incident was 2012-28-005194. Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her to identify the perpetrator of the attack or review the emergency room
reports or follow-on orthopedic assessments describing Price's injuries resulting from
the attack.

Please feel free to contact me with any questions.

Sincerely,

Elizabeth Walker
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Marilyn Benetatos
231 West 120 th Street
N.Y. N.Y. 10027
{21 i>. 663-5372 (home)
{34 7). 203-2623 (cell)

To whom it may concern:

I was a neighbor of Kelly Price when she lived at 237 West I 20 th Street. I am
a manager in Con Edison where I have worked for over 26 years. I have
approximately 70 employees in my chain of command. I lived on the street
for over 12 years, walk my dog every day and know and get along with my
neighbors.

In the spring and summer of 2011 and later in 2012, there were some
problems on the street related to young teenagers from other blocks hanging
out on I 20 th street vandalizing cars, the school yard, fighting in the streets
and being somewhat threatening to others. As a result, a group of us from the
block attended monthly meetings at the police station to make our issues
known there and to get fmiher on-going support from the police and the
community officer. The police were very helpful, offered a lot of support and
worked with us and the principal at the local school and facilitated the
Problem booinob away.

After the formal meeting, the head of the station, Captain Rodney Harrison,
invited attendees to speak with him personally about issues of concern. I
went up to him after one of these meetings and asked him why more was not
being done to help Kelly Price, who everyone knew was being battered. I
was concerned because the young teenagers seemed to be learning the wrong
thing from the situation. At that time, Captain Harrison told me that he had
never seen anything like it, but he/the police were told to not respond to Kelly
Price without the direct instruction of the District Attorney's office. He said
it was strange but indicated that, to some extent, his hands were tied.

I found his response really surprising, so it stood out in my mind. I don't
remember when or in what circumstances I came to be telling Kelly Price the
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details of my interaction with Captain Harrison.

Please feel free to contact: me, should I be able to assist you further.

Sincerely,
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